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                                                        EXHIBIT B1


Liquidating
   Trust                                         Claim    Docket
              Respondent                                                                 Status
  Omnibus                                       Number    Number
 Objection
                                                                    Req. for Hearing (Doc. 10411) –
                                                12663
     1        Capmark Finance, Inc.                        10407    Status hearing on objection adjourned to
                                                14363
                                                                    December 17, 2013 at 2:00 p.m.
                                                                    Response & Request for Hearing –
                                                12663
     1        Capmark Finance, Inc.                        10508    Status hearing on objection adjourned to
                                                14363
                                                                    December 17, 2013 at 2:00 p.m.
                                                                    Response & Request for Hearing –
     1        Capmark Finance, Inc.             14363      10497    Status hearing on objection adjourned to
                                                                    December 17, 2013 at 2:00 p.m.
                                                                    Status hearing on objection adjourned to
     1        Capmark Finance, Inc.             14589      10499
                                                                    December 17, 2013 at 2:00 p.m.
                                                                    Status hearing on objection adjourned to
     1        Carolina Pavilion Company         12915               December 17, 2013 at 2:00 p.m. with
                                                                    opposition due December 10, 2013.
                                                                    Status hearing on objection adjourned to
     1        Carolina Pavilion Company         14137               December 17, 2013 at 2:00 p.m. with
                                                                    opposition due December 10, 2013.
                                                                    Status hearing on objection adjourned to
              Centro Properties Group ta
     1                                          12560               December 17, 2013 at 2:00 p.m. with
              Memphis Commons Memphis, TN
                                                                    opposition due December 10, 2013.
                                                                    Status hearing on objection adjourned to
              Centro Properties Group ta
     1                                          12559               December 17, 2013 at 2:00 p.m. with
              Memphis Commons Memphis TN
                                                                    opposition due December 10, 2013.
                                                                    Status hearing on objection adjourned to
              Centro Properties Group ta
     1                                          12633               December 17, 2013 at 2:00 p.m. with
              Pensacola Square
                                                                    opposition due December 10, 2013.



1
  For all matters noted herein that are being adjourned or have been resolved, the respondent does
not need to appear at the October 24, 2013 hearing.
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Liquidating
   Trust                                         Claim       Docket
              Respondent                                                                 Status
  Omnibus                                       Number       Number
 Objection
              Centro Properties Group ta                              Status hearing on objection adjourned to
     1        Pensacola Square, Pensacola       12625                 December 17, 2013 at 2:00 p.m. with
              FL                                                      opposition due December 10, 2013.
              Centro Properties Group ta                              Status hearing on objection adjourned to
     1        Sharpstown Plaza Houston,          8488                 December 17, 2013 at 2:00 p.m. with
              TX                                                      opposition due December 10, 2013.
              Centro Properties Group ta                              Status hearing on objection adjourned to
     1        Sharpstown Plaza Houston,          8491                 December 17, 2013 at 2:00 p.m. with
              TX                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
              Circuit Investors #2 Ltd. A
     1                                           9037                 December 17, 2013 at 2:00 p.m. with
              Texas Partnership
                                                                      opposition due December 10, 2013.
              Drexel Delaware Trust c/o                               Response filed 4/5 by CTL Trust –
                                                             10295
     1        Midland Loan Services Inc.        12647                 Status hearing on objection adjourned to
                                                             10454
              a Delaware Corporation                                  December 17, 2013 at 2:00 p.m.
              Drexel Delaware Trust c/o                               Response filed 4/5 by CTL Trust –
                                                             10295
     1        Midland Loan Services Inc.,       14347                 Status hearing on objection adjourned to
                                                             10454
              a Delaware Corporation                                  December 17, 2013 at 2:00 p.m.
              GECMC 2005-C2 South                                     Status hearing on objection adjourned to
     1        Lindbergh, OLP CCST. Louis,       14420        10328    December 17, 2013 at 2:00 p.m.
              LLC
              Midland Loan Services Inc.                              Status hearing on objection adjourned to
                                                12647
              (Transferee), LaSalle Bank                              December 17, 2013 at 2:00 p.m.
     1                                          12258        10295
              National Assoc. (“CTL
                                                14347
              Trust”)
              Midland Loan Services Inc.                              Status hearing on objection adjourned to
                                                12647
              (Transferee), LaSalle Bank                              December 17, 2013 at 2:00 p.m.
     1                                          12258        10454
              National Assoc. (“CTL
                                                14347
              Trust”)
                                                                      Status hearing on objection adjourned to
     1        Park National Bank                11749                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.


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Liquidating
   Trust                                         Claim       Docket
              Respondent                                                                 Status
  Omnibus                                       Number       Number
 Objection
              U.S. Bank National                                      Status hearing on objection adjourned to
              Association, as Purchaser                               December 17, 2013 at 2:00 p.m. with
     1                                          14797
              of Assets of Park national                              opposition due December 10, 2013.
              Bank

              Basile Limited Liability                                14134 – Response filed 4/5 by LTL Trust
              Company                                                 12692 – response filed 4/5 by LTL Trust
                                                12692
     2        Wells Fargo Bank/                              10296    Status hearing on objection adjourned to
                                                14134
              NationsLink Funding Corp.                               December 17, 2013 at 2:00 p.m.
              (“LTL Trust”)
              Basile Limited Liability                                Status hearing on objection adjourned to
              Company                                                 December 17, 2013 at 2:00 p.m.
                                                12692
     2        Wells Fargo Bank/                              10408
                                                14134
              NationsLink Funding Corp.
              “LTL Trust”
                                                                      Status hearing on objection adjourned to
     2        CC Colonial Trust                  8688                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
     2        CC Colonial Trust                  6909                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.
              Centro Properties Group ta                              Status hearing on objection adjourned to
     2        Heritage Square Naperville        12637                 December 17, 2013 at 2:00 p.m. with
              IL                                                      opposition due December 10, 2013.
              Centro Properties Group ta                              Status hearing on objection adjourned to
     2        Heritage Square Naperville        14565                 December 17, 2013 at 2:00 p.m. with
              IL                                                      opposition due December 10, 2013.
              Centro Properties Group ta                              Status hearing on objection adjourned to
     2        Heritage Square Naperville        12527                 December 17, 2013 at 2:00 p.m. with
              IL                                                      opposition due December 10, 2013.
              Centro Properties Group ta                              Status hearing on objection adjourned to
     2        Northridge Plaza Milwaukee        12619                 December 17, 2013 at 2:00 p.m. with
              IL                                                      opposition due December 10, 2013.

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Liquidating
   Trust                                         Claim       Docket
              Respondent                                                                 Status
  Omnibus                                       Number       Number
 Objection
              Centro Properties Group ta                              Status hearing on objection adjourned to
     2        Northridge Plaza Milwaukee        12626                 December 17, 2013 at 2:00 p.m. with
              WI                                                      opposition due December 10, 2013.
              Centro Properties Group ta                              Status hearing on objection adjourned to
     2        Northridge Plaza Milwaukee         8487                 December 17, 2013 at 2:00 p.m. with
              IL                                                      opposition due December 10, 2013.
                                                             10687    Status hearing on objection adjourned to
     2        Cermak Plaza Associates LLC       12809
                                                             10692    December 17, 2013 at 2:00 p.m.
                                                                      Status hearing on objection adjourned to
              Circuit Investors Vernon
     2                                           7155                 December 17, 2013 at 2:00 p.m. with
              Hills Limited Partnership
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
              Circuit Investors Yorktown
     2                                          12338                 December 17, 2013 at 2:00 p.m. with
              Limited Partnership
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
              Manufacturers & Traders
     2                                           8622                 December 17, 2013 at 2:00 p.m. with
              Trust Company, as Trustee
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
              Manufacturers & Traders
     2                                          12053                 December 17, 2013 at 2:00 p.m. with
              Trust Co., as Trustee
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
     2        NMC Stratford LLC                  9644                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
                                                 7999                 December 17, 2013 at 2:00 p.m. with
     2        Pan Am Equities, Inc.
                                                 8794                 opposition due December 10, 2013.

                                                                      Status hearing on objection adjourned to
     2        Park National Bank                 8079                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
     2        Park National Bank                 8618                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.

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Liquidating
   Trust                                         Claim       Docket
              Respondent                                                                 Status
  Omnibus                                       Number       Number
 Objection
                                                                      This matter has been settled pursuant to
                                                                      procedures previously approved by this
     2        Park National Bank                12615
                                                                      Court, and the matter may be removed from
                                                                      the Court’s docket.
                                                                      Status hearing on objection adjourned to
     2        Ronald Benderson Trust 1995       14920                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
     2        Ronald Benderson Trust 1995       13427                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
     2        Ronald Benderson Trust 1995       12469                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.

                                                                      Status hearing on objection adjourned to
     3        4110 Midland LLC                  14287                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
     3        4110 Midland LLC                  12708                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
     3        4905 Waco LLC                     13902                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
     3        4905 Waco LLC                     12710                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
     3        Abercorn Common LLP               12682                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
     3        Abercorn Common LLP               13695                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.


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Liquidating
   Trust                                          Claim       Docket
              Respondent                                                                  Status
  Omnibus                                        Number       Number
 Objection
              Bank of America N.A., as                                 Status hearing on objection adjourned to
              Trustee for Reg. Holders of                              December 17, 2013 at 2:00 p.m.
              Greenwich Capital
              Commercial Mortgage Funding
                                                  8559
              Corp. Commercial Mortgage
     3                                           12682        10324
              Trust 2007-GG9 Commercial
                                                 13695
              Mortgage Pass-Through
              Certificates, Series 2007-
              GG9, as Collateral Assignee
              of Abercorn Common LLLP
                                                                       Status hearing on objection adjourned to
     3        Basser Kaufman 312 LLC             12507                 December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
     3        Basser Kaufman                     14416                 December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Request for Hearing (Doc. 10439) –
     3        Capmark Finance, Inc.               9740        10438    Status hearing on objection adjourned to
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Response & Request for Hearing –
     3        Capmark Finance, Inc.               9740        10505    Status hearing on objection adjourned to
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
     3                                            8104                 December 17, 2013 at 2:00 p.m. with
              Parkway Plaza Vestal NY
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
     3                                            8102                 December 17, 2013 at 2:00 p.m. with
              Parkway Plaza Vestal NY
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
     3                                           12580                 December 17, 2013 at 2:00 p.m. with
              Parkway Plaza Vestal NY
                                                                       opposition due December 10, 2013.



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Liquidating
   Trust                                         Claim       Docket
              Respondent                                                                 Status
  Omnibus                                       Number       Number
 Objection
                                                 8943
                                                 9725
                                                14080
                                                14955                 Status hearing on objection adjourned to
              Inland Western Avondale
     3                                          14095        10372    December 17, 2013 at 2:00 p.m.
              McDowell LLC
                                                14936
                                                13735
                                                14095
                                                14928
                                                                      Status hearing on objection adjourned to
     3        Jubilee-Springdale, LLC            9248        10418
                                                                      December 17, 2013 at 2:00 p.m.
                                                                      Status hearing on objection adjourned to
     3        Regency Centers LP                14381                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
     3        Regency Centers LP                14438                 December 17, 2013 at 2:00 p.m. with
                                                                      opposition due December 10, 2013.
                                                                      Status hearing on objection adjourned to
              Randall Benderson and David
     3                                           9951                 December 17, 2013 at 2:00 p.m. with
              H. Daldauf
                                                                      opposition due December 10, 2013.

              Abercom Common LP, Bank of
              America N.A., as Trustee
              for Reg. Holders of
              Greenwich Capital
              Commercial Mortgage Funding                             Status hearing on objection adjourned to
     4        Corp. Commercial Mortgage         12682        10324    December 17, 2013 at 2:00 p.m.
              Trust 2007-GG9 Commercial
              Mortgage Pass-Through
              Certificates, Series 2007-
              GG9, as Collateral Assignee
              of Abercorn Common LLLP


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Liquidating
   Trust                                          Claim       Docket
              Respondent                                                                  Status
  Omnibus                                        Number       Number
 Objection
                                                                       Status hearing on objection adjourned to
     4        Amherst VF LLC                     12697                 December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Amherst VF LLC Vornado
     4                                           13910                 December 17, 2013 at 2:00 p.m. with
              Realty Trust
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
     4        Basser Kaufman 312 LLC             12507                 December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Request for Hearing (Doc. 10444) –
     4        Capmark Finance, Inc.              12152        10443    Status hearing on objection adjourned to
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
     4        Capmark Finance, Inc.              12152        10506
                                                                       December 17, 2013 at 2:00 p.m.
              Cardinal Capital Partners                                Status hearing on objection adjourned to
     4        Inc. and 680 S. Lemon Ave.         13135                 December 17, 2013 at 2:00 p.m. with
              Co.                                                      opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
     4        CC-Hamburg NY Partners LLC         12818                 December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                 12712                 Status hearing on objection adjourned to
     4        CC-Investors Trust 1995-1                       10348
                                                 13882                 December 17, 2013 at 2:00 p.m.
              Centro Properties Group ta                               Status hearing on objection adjourned to
     4        Bakersfield Commons                12555                 December 17, 2013 at 2:00 p.m. with
              Bakersfield CA                                           opposition due December 10, 2013.
              Centro Properties Group ta                               Status hearing on objection adjourned to
     4        Esplande Shopping Center           12634                 December 17, 2013 at 2:00 p.m. with
              Oxnard CA                                                opposition due December 10, 2013.
              Centro Properties Group                                  Status hearing on objection adjourned to
     4        Esplande Shopping Center           12639                 December 17, 2013 at 2:00 p.m. with
              Oxnard, CA                                               opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
     4                                           12581                 December 17, 2013 at 2:00 p.m. with
              Innes Market Salisbury NC
                                                                       opposition due December 10, 2013.
                                                          8
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Liquidating
   Trust                                          Claim       Docket
              Respondent                                                                  Status
  Omnibus                                        Number       Number
 Objection
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
     4                                           12582                 December 17, 2013 at 2:00 p.m. with
              Innes Market Salisbury NC
                                                                       opposition due December 10, 2013.
              Centro Properties Group ta                               Status hearing on objection adjourned to
     4        Montebello Plaza Montebella        12638                 December 17, 2013 at 2:00 p.m. with
              CA                                                       opposition due December 10, 2013.
              Centro Properties Group ta                               Status hearing on objection adjourned to
     4        Montebello Plaza                   12754                 December 17, 2013 at 2:00 p.m. with
              Montebello, CA                                           opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
     4                                            8089                 December 17, 2013 at 2:00 p.m. with
              Venture Point Duluth GA
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
     4                                            8490                 December 17, 2013 at 2:00 p.m. with
              Venture Point Duluth, GA
                                                                       opposition due December 10, 2013.
              CMAT 1999-C2 Bustleton                                   Status hearing on objection adjourned to
     4                                           12078        10323
              Avenue, LLC                                              December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
     4        Giant Eagle, Inc.                  13017        10302
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
     4        Giant Eagle, Inc.                  14019        10301
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
     4        Greece Ridge LLC                   12764                 December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.




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Liquidating
   Trust                                            Claim        Docket
              Respondent                                                                    Status
  Omnibus                                          Number        Number
 Objection
                                                    9725
                                                   12082
                                                   12092
                                                   12643
                                                   12644
                                                   12646
                                                   12720                  Status hearing on objection adjourned to
     4        Inland Entities                                    10380
                                                   12744                  December 17, 2013 at 2:00 p.m.
                                                   12828
                                                   12829
                                                   12830
                                                   12831
                                                   14936
                                                   14955
              Midland Loan Services, Inc.                                 Status hearing on objection adjourned to
     4        - LaSalle Bank National               8362         10453    December 17, 2013 at 2:00 p.m.
              Association (“CLF Trust”)
                                                                          Status hearing on objection adjourned to
     4        Regency Centers LP                   12794                  December 17, 2013 at 2:00 p.m. with
                                                                          opposition due December 10, 2013.
                                                                          Status hearing on objection adjourned to
     4        Regency Centers LP                   14791                  December 17, 2013 at 2:00 p.m. with
                                                                          opposition due December 10, 2013.
              WEC 99A 2 LLC - LaSalle                                     Status hearing on objection adjourned to
     4        Bank National Association            14057         10298    December 17, 2013 at 2:00 p.m.
              (“CLF Trust”)

                                                                          Status hearing on objection adjourned to
              Almaden Plaza Shopping
     5                                             12122                  December 17, 2013 at 2:00 p.m. with
              Center, Inc.
                                                                          opposition due December 10, 2013.
                                                                          Status hearing on objection adjourned to
              Bear    Valley Road Partners
     5                                             12651                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                          opposition due December 10, 2013.

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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Bear Valley Road Partners
     5                                          12653                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Bear Valley Road Partners
     5                                          14065                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                       opposition due December 10, 2013.
                                                 8262                  Status hearing on objection adjourned to
                                                 8278                  December 17, 2013 at 2:00 p.m.
                                                12687
     5        Eel McKee LLC                                   10305
                                                12849
                                                13719
                                                13722

                                                                       Status hearing on objection adjourned to
              California Self Insurers
     6                                          11721                  December 17, 2013 at 2:00 p.m. with
              Security Fund
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              California Self Insurers
     6                                          11811                  December 17, 2013 at 2:00 p.m. with
              Security Fund
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              California Self Insurers
     6                                          14971                  December 17, 2013 at 2:00 p.m. with
              Security Fund
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              California Self Insurers
     6                                          14973                  December 17, 2013 at 2:00 p.m. with
              Security Fund
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              California Self Insurers
     6                                          15004                  December 17, 2013 at 2:00 p.m. with
              Security Fund
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              California Self Insurers
     6                                          15031                  December 17, 2013 at 2:00 p.m. with
              Security Fund
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              California Self Insurers
     6                                          15030                  December 17, 2013 at 2:00 p.m. with
              Security Fund
                                                                       opposition due December 10, 2013.
                                                         11
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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              Old Republic Insurance
     6                                            7368                  December 17, 2013 at 2:00 p.m. with
              Company
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Old Republic Insurance
     6                                            7369                  December 17, 2013 at 2:00 p.m. with
              Company
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Old Republic Insurance
     6                                            7370                  December 17, 2013 at 2:00 p.m. with
              Company
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Old Republic Insurance
     6                                            7372                  December 17, 2013 at 2:00 p.m. with
              Company
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                             7373                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                             7374                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                             7375                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                             7377                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                             7378                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                             7379                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                             7380                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.

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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                             7381                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                             7382                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                             7383                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                             7384                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                             7385                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            13899                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            13901                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            14089                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            14090                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            14091                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            14094                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.

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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            14144                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            14214                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            14215                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            14350                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            14368                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            14369                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            14370                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            14371                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            14373                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
     6        Company                            14374                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Old Republic Insurance
     6                                            7386                  December 17, 2013 at 2:00 p.m. with
              Company of Canada
                                                                        opposition due December 10, 2013.

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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              Old Republic Insurance
     6                                           14367                  December 17, 2013 at 2:00 p.m. with
              Company of Canada
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
     6        SWAIN, Walter                      14487         10482
                                                                        December 17, 2013 at 2:00 p.m.

                                                                        Status hearing on objection adjourned to
              California Self Insurers
     7                                           15028                  December 17, 2013 at 2:00 p.m. with
              Security Fund
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              California Self Insurers
     7                                           15029                  December 17, 2013 at 2:00 p.m. with
              Security Fund
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
     7        Commonwealth Edison Company        14120         10327
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
     7        McCabe, Michael                    10546
                                                                        December 17, 2013 at 2:00 p.m.
              Public Company Accounting                                 Status hearing on objection adjourned to
     7                                           14216         10420
              Oversight Board                                           December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
     7        SENATOR, Bruce                     13082         10139
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
              Sensormatic Electronics
     7                                            6317                  December 17, 2013 at 2:00 p.m. with
              Corporation
                                                                        opposition due December 10, 2013.

              Alexander H. BOBINSKI, as          12498         10280    Status hearing on objection adjourned to
     8
              Trustee under Trust No. 001        14248         10281    December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
     8        BEV CON I LLC – Exhibit C           8786                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
     8        BEV CON I LLC - Exhibit F           8786                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.


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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Centro Properties Group ta                               Status hearing on objection adjourned to
     8        County Lien Plaza Jackson          8100                  December 17, 2013 at 2:00 p.m. with
              MS                                                       opposition due December 10, 2013.
              Centro Properties Group ta                               Status hearing on objection adjourned to
     8        Midway market Square               8486                  December 17, 2013 at 2:00 p.m. with
              Elyria, OH                                               opposition due December 10, 2013.
              Centro Properties Group ta                               Status hearing on objection adjourned to
     8        Chamberlain Plaza Meriden         12533                  December 17, 2013 at 2:00 p.m. with
              CT                                                       opposition due December 10, 2013.
              Centro Properties Group ta                               Status hearing on objection adjourned to
     8        Chamberlain Plaza Meriden         12538                  December 17, 2013 at 2:00 p.m. with
              CT                                                       opposition due December 10, 2013.
              Centro Properties Group ta                               Status hearing on objection adjourned to
     8        Midway Market Square              12531                  December 17, 2013 at 2:00 p.m. with
              Elyria, OH                                               opposition due December 10, 2013.
              Centro Properties Group ta                               Status hearing on objection adjourned to
     8        Midway market Square Elyria       12532                  December 17, 2013 at 2:00 p.m. with
              OH                                                       opposition due December 10, 2013.
              CMAT 1999-C2 Lawrence Road,                              Status hearing on objection adjourned to
     8                                          12077         10322
              LLC                                                      December 17, 2013 at 2:00 p.m.
              CMAT 1999-C2 Ridgeland                                   Status hearing on objection adjourned to
     8                                          11958         10321
              Retails, LLC                                             December 17, 2013 at 2:00 p.m.
              CWCapital Asset Management                               Status hearing on objection adjourned to
                                                              10824
     8        LLC, as Special Servicer          12832                  December 17, 2013 at 2:00 p.m.
                                                              10825
              for Bank of America N.A.
              CWCapital Asset Management                               Status hearing on objection adjourned to
              LLC as Special Servicer of                               December 17, 2013 at 2:00 p.m.
                                                              10824
     8        Bank of America NA,               13950
                                                              10825
              Successor by Merger to
              LaSalle Bank NA, as Trustee
                                                                       Status hearing on objection adjourned to
              First Berkshire Properties
     8                                          14901                  December 17, 2013 at 2:00 p.m. with
              LLC – Exhibit D
                                                                       opposition due December 10, 2013.

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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              First Berkshire Properties
     8                                          14901                  December 17, 2013 at 2:00 p.m. with
              LLC – Exhibit C
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              First Berkshire Properties
     8                                          13441                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              First Berkshire Properties
     8                                          13444                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Inland Sau Greenville Point
     8                                          14938                  December 17, 2013 at 2:00 p.m. with
              LLC – Exhibit C
                                                                       opposition due December 10, 2013.
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
     8        Janaf Shops LLC                   14284
                                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
     8        Janaf Shops LLC                   14511
                                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       Status hearing on objection adjourned to
     8        Main Street at Exton LP           12421                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
     8        Main Street at Exton LP           12614                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
              Morgan Hill Retail Venture                               Status hearing on objection adjourned to
     8                                          10265         10378
              LP                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
     8        North Plainfield VF LLC            8723                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
     8        North Plainfield VF LLC           13928                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                         17
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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
     8        Pacific Harbor Equities LLC        12379                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                10361   Status hearing on objection adjourned to
                                                  8985
     8        Raymond & Main Retail, LLC                        10543   December 17, 2013 at 2:00 p.m.
                                                  8988
                                                               Amend.
                                                                        Status hearing on objection adjourned to
              Riverdale Retail
     8                                           13543                  December 17, 2013 at 2:00 p.m. with
              Associates, LC
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
     8        Ronus Meyerland Plaza, L.P.        12424         10409
                                                                        December 17, 2013 at 2:00 p.m.
              Schottenstein Property                                    Status hearing on objection adjourned to
     8                                           13166         10412
              Group, Inc.                                               December 17, 2013 at 2:00 p.m.
              Shoppes at Beavercreek Ltd.                               Status hearing on objection adjourned to
     8                                           12770         10419
              & Jubilee-Springdale, LLC                                 December 17, 2013 at 2:00 p.m.
              Tanglewood Park LLC,                                      Status hearing on objection adjourned to
              Luckoff Land Company LLC,                                 December 17, 2013 at 2:00 p.m. with
     8                                            5163
              and Roth Tanglewood LLC as                                opposition due December 10, 2013.
              Tenants in Common
                                                 12685                  Status hearing on objection adjourned to
              WEC 99A 1 LLC, LaSalle Bank
                                                 14249                  December 17, 2013 at 2:00 p.m.
     8        National Association (“CLF                       10299
                                                 12851
              Trust”); WEC 99A 3 LLC
                                                 14135
                                                 12685                  Status hearing on objection adjourned to
              WEC 99A 1 LLC, LaSalle Bank
                                                 14249                  December 17, 2013 at 2:00 p.m.
     8        National Association (“CLF                       10452
                                                 12851
              Trust”)
                                                 14135

                                                                        Status hearing on objection adjourned to
     9        Abilene-Ridgemont, LLC             12241         10293    December 17, 2013 at 2:00 p.m.
                                                 14599
                                                                        Status hearing on objection adjourned to
              Altamonte Springs Real
     9                                            5548                  December 17, 2013 at 2:00 p.m. with
              Estate Associates LLC
                                                                        opposition due December 10, 2013.
                                                          18
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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
              Altamonte Springs Real
     9                                           12314                  December 17, 2013 at 2:00 p.m. with
              Estate Associates, LLC
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Altamonte Springs Real
     9                                           14807                  December 17, 2013 at 2:00 p.m. with
              Estate Associates LLC
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Altamonte Springs Real
     9                                           13636                  December 17, 2013 at 2:00 p.m. with
              Estate Associates LLC
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Ave Forsyth LLC Cousins
     9                                           14129                  December 17, 2013 at 2:00 p.m. with
              336932 11
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Ave Forsyth LLC Cousins
     9                                            9506                  December 17, 2013 at 2:00 p.m. with
              Store No. 4252
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
     9        Capmark Finance, Inc.               9724         10442
                                                                        December 17, 2013 at 2:00 p.m.
              Carriage Crossing                                         Status hearing on objection adjourned to
     9                                           14022         10491
              Marketplace, LLC                                          December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
              CBL Terrace Limited
     9                                           12275                  December 17, 2013 at 2:00 p.m. with
              Partnership
                                                                        opposition due December 10, 2013.
                                                 13973                  Status hearing on objection adjourned to
     9        CC Properties LLC                  14001         10355    December 17, 2013 at 2:00 p.m.
                                                 14002
                                                                        Status hearing on objection adjourned to
              Centro Properties Group ta
     9                                           12623                  December 17, 2013 at 2:00 p.m. with
              Sun Plaza, Walton Beach, FL
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Centro Properties Group ta
     9                                           12678                  December 17, 2013 at 2:00 p.m. with
              Sun Plaza Walton Beach, FL
                                                                        opposition due December 10, 2013.
              Centro Properties Group ta                                Status hearing on objection adjourned to
     9        Dickson City Crossing              12528                  December 17, 2013 at 2:00 p.m. with
              Dickson City, PA                                          opposition due December 10, 2013.
                                                          19
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Centro Properties Group ta                               Status hearing on objection adjourned to
              Dickson City Crossing,                                   December 17, 2013 at 2:00 p.m. with
     9                                          12920
              Dickson City, PA – Exhibit                               opposition due December 10, 2013.
              C
              Centro Properties Group ta                               Status hearing on objection adjourned to
              Dickson City Crossing,                                   December 17, 2013 at 2:00 p.m. with
     9                                          12920
              Dickson City, PA – Exhibit                               opposition due December 10, 2013.
              D
              Centro Properties Group ta                               Status hearing on objection adjourned to
     9        University Commons                12557                  December 17, 2013 at 2:00 p.m. with
              Greenville, Greenville, NC                               opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
     9        Chino South Retail PC, LLC         8990         10329
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
     9        CP Nord Du Lac JV LLC              9641         10805
                                                                       December 17, 2013 at 2:00 p.m.
              CWCapital Asset Management
              LLC, as Special Servicer                                 Status hearing on objection adjourned to
     9        for Bank of America as            13978         10826    December 17, 2013 at 2:00 p.m.
              Successor by merger to
              LaSalle Bank NA as Trustee
                                                 9177                  Status hearing on objection adjourned to
              Diamond Square, LLC;
     9                                          14357         10335    December 17, 2013 at 2:00 p.m.
              Builder Square, LLC
                                                12694
              Federal Realty Investment                                Status hearing on objection adjourned to
              Trust ta Quince Orchard                                  December 17, 2013 at 2:00 p.m. with
     9                                          12545
              Shopping Center,                                         opposition due December 10, 2013.
              Gaithersburg, MD
              Federal Realty Investment                                Status hearing on objection adjourned to
              Trust ta Quince Orchard                                  December 17, 2013 at 2:00 p.m. with
     9                                          12546
              Shopping Center,                                         opposition due December 10, 2013.
              Gaithersburg, MD
              GECMC 2005-C2 Ludwig Drive,                              Status hearing on objection adjourned to
     9        LLC, OLP CCFairview               14402         10325    December 17, 2013 at 2:00 p.m.
              Heights, LLC
                                                         20
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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
     9        Hickory Ridge Pavilion LLC          9247         10417
                                                                        December 17, 2013 at 2:00 p.m.
                                                 12564                  Status hearing on objection adjourned to
     9        Johnson City Crossing, L.P.                      10413
                                                 14966                  December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
     9        KB Columbus I-CC, LLC              12331                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Key Bank NA as Master                                     Status hearing on objection adjourned to
              Servicer and ORIX Capital                                 December 17, 2013 at 2:00 p.m.
     9                                           12423         10819
              Markets LLC as Special
              Servicer
              KeyBank NA as Master                                      Status hearing on objection adjourned to
              Servicer and ORIX Capital                                 December 17, 2013 at 2:00 p.m.
     9        Markets LLC as Special             12399         10821
              Servicer on Behalf of Bank
              of America NA
                                                 12673                  Status hearing on objection adjourned to
     9        Magna Trust Company                              10334
                                                 13763                  December 17, 2013 at 2:00 p.m.
              Mayfair ORCC Business                                     Status hearing on objection adjourned to
              Trust; LaSalle Bank                                       December 17, 2013 at 2:00 p.m.
     9                                           14247         10297
              National Association (“CTL
              Trust”)
                                                                        Status hearing on objection adjourned to
     9        Novogroder Abilene, LLC            14302         10293
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
     9        ORIX Capital Marks LLC             12495         10821
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
     9        ORIX Capital Markets LLC           14244         10821
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
     9        Park National Bank                 11750                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
     9        Park National Bank                 11752                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                          21
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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
     9        Parker Bullseye LLC                13808
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
     9        Parker Bullseye LLC                11757
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
     9        Save Mart Supermarkets             13418         10339
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
              The Village at Rivergate
     9                                           14476                  December 17, 2013 at 2:00 p.m. with
              Limited Partnership
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
     9        TUP 340 Company LLC                 4807                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              United States Debt Recovery
     9                                           12588                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              United States Debt Recovery        12589
     9                                                                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              United States Debt Recovery
     9                                           12735                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                        opposition due December 10, 2013.
              U.S. Bank National                                        Status hearing on objection adjourned to
              Association as purchaser of                               December 17, 2013 at 2:00 p.m. with
     9                                           14802
              assets of Park National                                   opposition due December 10, 2013.
              Bank
              US Bank National                                          Status hearing on objection adjourned to
     9        Association as Purchaser of        14796                  December 17, 2013 at 2:00 p.m. with
              Assets of Park Nation Bank                                opposition due December 10, 2013.
              Victoria Estates LTD                                      Status hearing on objection adjourned to
     9        Magpond LLC; Magpond A LLC;         9953                  December 17, 2013 at 2:00 p.m. with
              and Magpond B LLC                                         opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
     9        Weingarten Nostat, Inc.            13982                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                          22
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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
     9        WR I Associates LTD               13451                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
     9        WR I Associates LTD               14903                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
     9        WR I Associates LTD               13438                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.

                                                                       Status hearing on objection adjourned to
    13        BESANKO, Bruce H.                 14990         10398
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    13        BESANKO, Bruce H.                 14990         10415
                                                                       December 17, 2013 at 2:00 p.m.

                                                                       Status hearing on objection adjourned to
    14        601 Plaza, LLC                    13697         10288
                                                                       December 17, 2013 at 2:00 p.m.
              Bank of America NA as
              Trustee for the Registered                               Status hearing on objection adjourned to
    14        Holders of Banc of America         9127                  December 17, 2013 at 2:00 p.m. with
              Commercial Mortgage Inc                                  opposition due December 10, 2013.
              Commercial Mortgage
              Bank of America National
              Association Successor by                                 Request for Hearing (Doc. 10424)-
              Merger to LaSalle National                      10423    Status hearing on objection adjourned to
    14                                           9916
              Banka a Nationally                              10498    December 17, 2013 at 2:00 p.m.
              Chartered Bank as Trustee
              for Capmark Finance, Inc.
              Centro Properties Group ta                               Status hearing on objection adjourned to
    14        Coastal Way, Brooksville,         12677                  December 17, 2013 at 2:00 p.m. with
              FL                                                       opposition due December 10, 2013.
              Centro Properties Group ta                               Status hearing on objection adjourned to
    14        Coastal Way, Brooksville,         12630                  December 17, 2013 at 2:00 p.m. with
              FL                                                       opposition due December 10, 2013.
                                                         23
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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              CMAT 1999-C2 Emporium                                     Status hearing on objection adjourned to
    14                                            4991         10314
              Drive, LLC                                                December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
    14        Eagleridge Associates              12825                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    14        East Brunswick VF LLC               9307                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                 14939                  Status hearing on objection adjourned to
              Inland Continental Property
    14                                           14081         10381    December 17, 2013 at 2:00 p.m.
              Management Corp
                                                 12079
              Inland Pacific Property            13734                  Status hearing on objection adjourned to
    14                                                         10381
              Services LLC                       14974                  December 17, 2013 at 2:00 p.m.
              Inland Western Temecula                                   Status hearing on objection adjourned to
    14                                           12803         10381
              Commons LLC                                               December 17, 2013 at 2:00 p.m.
              Jaren Associates No. 4                                    Status hearing on objection adjourned to
    14        Macerich Scottsdale Store          13927                  December 17, 2013 at 2:00 p.m. with
              No. 3341                                                  opposition due December 10, 2013.
              Jaren Associates No. 4                                    Status hearing on objection adjourned to
    14        Scottsdale Macerich 203270         13992                  December 17, 2013 at 2:00 p.m. with
              1466                                                      opposition due December 10, 2013.
              KRG Market Street Village,                                Status hearing on objection adjourned to
    14                                           12707         10345
              LP                                                        December 17, 2013 at 2:00 p.m.
              KRG Market Street Village,                                Status hearing on objection adjourned to
    14                                           14143         10344
              LP                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
    14        Macerich Store No. 6286             9517                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Macerich Vintage Faire
    14                                           14130                  December 17, 2013 at 2:00 p.m. with
              Limited Partnership
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    14        Memorial Square 1031 LLC           10020         10381
                                                                        December 17, 2013 at 2:00 p.m.

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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
    14        Monte Vista Crossings LLC           4050                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Montevideo Investments LLC
    14                                           13929                  December 17, 2013 at 2:00 p.m. with
              Macerich Store No 6286
                                                                        opposition due December 10, 2013.
              Montevideo Investments LLC                                Status hearing on objection adjourned to
    14        Village Square 1 Macerich          13993                  December 17, 2013 at 2:00 p.m. with
              203270 1468                                               opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    14        North Plainfield VF LLC            13928                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    14        OATES, Marvin L., Trust             7024         10624
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
              Pembrooke Crossing LTD
    14                                           13998                  December 17, 2013 at 2:00 p.m. with
              Prudential 204404 122
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Pembrooke Crossing LTD
    14                                           12704                  December 17, 2013 at 2:00 p.m. with
              Prudential 204404 122
                                                                        opposition due December 10, 2013.
                                                                        This matter has been settled pursuant to
              Portland Investment Company                               procedures previously approved by this
    14                                           13996
              of America; Sawmill Plaza                                 Court, and the matter may be removed from
                                                                        the Court’s docket.
                                                                        This matter has been settled pursuant to
              Portland Investment Company                               procedures previously approved by this
    14                                           14912
              of America; Sawmill Plaza                                 Court, and the matter may be removed from
                                                                        the Court’s docket.
                                                                        Status hearing on objection adjourned to
              Ronald D. Rossitter &
    14                                           13323                  December 17, 2013 at 2:00 p.m. with
              Barbara M. Rossitter
                                                                        opposition due December 10, 2013.



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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       This matter has been settled pursuant to
              Sawmill Plaza Place                                      procedures previously approved by this
    14                                          12751
              Associates                                               Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       Status hearing on objection adjourned to
    14        The Marvin L. Oates Trust          7024                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    14        Towson VF LLC                     12699                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    14        Towson VF LLC                     14169                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
              UBS Realty Investors LLC,                                Status hearing on objection adjourned to
    14        Agent for Happy Valley Town        8107                  December 17, 2013 at 2:00 p.m. with
              Center, Phoenix, AZ                                      opposition due December 10, 2013.
              Uniwest Management Services                              Status hearing on objection adjourned to
              Inc., Owner or Agent for                                 December 17, 2013 at 2:00 p.m. with
    14        Battlefield FE Limited            12548                  opposition due December 10, 2013.
              partner ta Fort Evans Plaza
              II Leesburg, VA
                                                                       Status hearing on objection adjourned to
              Walton Hanover Investors V
    14                                          14401                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Walton Hanover Investors V
    14                                          12665                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                       opposition due December 10, 2013.
                                                              10492    Amended Response
    14        WCC Properties                    13480         11365    Status hearing on objection adjourned to
                                                              12085    December 17, 2013 at 2:00 p.m.

                                                                       Status hearing on objection adjourned to
    15        44 North Properties LLC            8777                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                         26
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Bank of America, N.A. as
              trustee for registered                                   Status hearing on objection adjourned to
    15                                           9721         10431
              holders of GMAC Commercial                               December 17, 2013 at 2:00 p.m.
              Mortgage Securities, Inc.
              Bank of America NA as
              successor by merger to
              LaSalle Bank National                                    Status hearing on objection adjourned to
    15                                           9488         10431
              Association as Trustee for                               December 17, 2013 at 2:00 p.m.
              the Registered Holders of
              GMAC
              Bank of America NA as
              successor by merger to
              LaSalle Bank National
              Association as Trustee for                               Status hearing on objection adjourned to
    15                                           9899         10436
              the Registered Holders of                                December 17, 2013 at 2:00 p.m.
              the Morgan Stanley Capital
              Inc. Commercial Mortgage
              pass Through Certificates
              Bank of America National
              Association Successor by
              Merger to LaSalle Bank                                   Status hearing on objection adjourned to
    15                                          10030         10436
              National Association fka                                 December 17, 2013 at 2:00 p.m.
              LaSalle National Bank as
              Trustee
              Bank of America National
              Association Successor by
                                                                       Status hearing on objection adjourned to
    15        merger to LaSalle Bank             9050         10436
                                                                       December 17, 2013 at 2:00 p.m.
              National Association fka
              LaSalle National Bank
              Bank of America National
              Association Successor by
                                                                       Status hearing on objection adjourned to
    15        Merger to LaSalle Bank             9704         10431
                                                                       December 17, 2013 at 2:00 p.m.
              National Association fka
              LaSalle National Bank
                                                         27
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Bank of America National
              Association Successor by
                                                                       Status hearing on objection adjourned to
    15        Merger to LaSalle Bank             9734         10436
                                                                       December 17, 2013 at 2:00 p.m.
              National Association fka
              LaSalle National Bank
              Bank of America National
              Association Successor by
                                                                       Status hearing on objection adjourned to
    15        merger to LaSalle Bank             9707         10436
                                                                       December 17, 2013 at 2:00 p.m.
              National Association fka
              LaSalle National Bank
              Bank of America, N.A. as
              successor by merger to
              LaSalle Bank National
                                                                       Status hearing on objection adjourned to
    15        Association as Trustee for         9449         10436
                                                                       December 17, 2013 at 2:00 p.m.
              the Reg. Holders of GMAC
              Commercial Mortgage
              Securities, Inc.
                                                                       Status hearing on objection adjourned to
              Bond Circuit I Delaware
    15                                          13448                  December 17, 2013 at 2:00 p.m. with
              Business Trust
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    15        Bond Circuit I Delaware           14935                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Bond Circuit IV Delaware
    15                                           8796                  December 17, 2013 at 2:00 p.m. with
              Business Trust
                                                                       opposition due December 10, 2013.
                                                 9704                  Status hearing on objection adjourned to
    15        Capmark Finance, Inc.              9721         10502    December 17, 2013 at 2:00 p.m.
                                                 9488




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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                 9449
                                                10030
                                                 9899                  Response & Request for Hearing-
    15        Capmark Finance, Inc.              9050         10507    Status hearing on objection adjourned to
                                                 9734                  December 17, 2013 at 2:00 p.m.
                                                 9707
                                                14363
                                                                       Status hearing on objection adjourned to
    15        CC Investors 1996 17               7162                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    15        CC Properties LLC                 14005         10356
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group a
    15                                           8102                  December 17, 2013 at 2:00 p.m. with
              Parkway Plaza Vestal NY
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group a
    15                                           8104                  December 17, 2013 at 2:00 p.m. with
              Parkway Plaza Vestal NY
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
    15                                           1604                  December 17, 2013 at 2:00 p.m. with
              Valley Crossing Hickory NC
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Circuit Investors Fairfield
    15                                          14548                  December 17, 2013 at 2:00 p.m. with
              Limited Partnership
                                                                       opposition due December 10, 2013.
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    15        Circuit IL Corp                    5027
                                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.
              CMAT 1999 C-1 Kelly Road,                                Status hearing on objection adjourned to
    15                                           5005         10317
              LLC                                                      December 17, 2013 at 2:00 p.m.
              CMAT 1999-C2 Moller Road,                                Status hearing on objection adjourned to
    15                                           4994         10315
              LLC                                                      December 17, 2013 at 2:00 p.m.


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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
    15        Daniel G. Kamin Flint, LLC        11573                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    15        FW CA Brea Marketplace LLC        13446                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
                                                12796
    15        FW CA Brea Marketplace LLC                               December 17, 2013 at 2:00 p.m. with
                                                14382
                                                                       opposition due December 10, 2013.
                                                 8943
              Inland Western Avondale            9725                  Status hearing on objection adjourned to
    15                                                        10386
              McDowell, LLC                     14928                  December 17, 2013 at 2:00 p.m.
                                                14936
                                                                       Status hearing on objection adjourned to
              Manufacturers & Traders
    15                                           8613                  December 17, 2013 at 2:00 p.m. with
              Trust Company as Trustee
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Manufacturers & Traders
    15                                           8561                  December 17, 2013 at 2:00 p.m. with
              Trust Company as Trustee
                                                                       opposition due December 10, 2013.
                                                                       This matter has been settled pursuant to
              Manufacturers & Traders                                  procedures previously approved by this
    15                                           8611
              Trust Company, as Trustee                                Court, and the matter may be removed from
                                                                       the Court’s docket.
              ORIX Capital Markets LLC –                               Status hearing on objection adjourned to
    15                                          14245         10818
              Exhibit E                                                December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
              Parkdale Mall Associates,
    15                                          14965                  December 17, 2013 at 2:00 p.m. with
              LP - Exhibit E
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Parkdale Mall Associates,
    15                                          14965                  December 17, 2013 at 2:00 p.m. with
              LP – Exhibit F
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
                                                12792
    15        RC CA Santa Barbara LLC                                  December 17, 2013 at 2:00 p.m. with
                                                12797
                                                                       opposition due December 10, 2013.
                                                         30
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              The Hutensky Group LLC,                                  Status hearing on objection adjourned to
              agent for HRI Lutherville                                December 17, 2013 at 2:00 p.m. with
    15                                           1897
              Station LLC ta Lutherville                               opposition due December 10, 2013.
              Station, Lutherville, MD
                                                                       Status hearing on objection adjourned to
    15        Trader Joe’s East, Inc.            4983         10489
                                                                       December 17, 2013 at 2:00 p.m.
              UBS Realty Investors LLC                                 Status hearing on objection adjourned to
              agent for Wayside Commons                                December 17, 2013 at 2:00 p.m. with
    15                                           1898
              Investors LLC ta Wayside                                 opposition due December 10, 2013.
              Commons Burlington, MA
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    15                                          14519                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                       opposition due December 10, 2013.
              WEC 96D Niles Investment                                 Status hearing on objection adjourned to
    15                                           9647         10353
              Trust                                                    December 17, 2013 at 2:00 p.m.
              Wells Fargo Bank NA
              successor by merger to
                                                                       Status hearing on objection adjourned to
    15        Wells Fargo Bank Minnesota         9441         10501
                                                                       December 17, 2013 at 2:00 p.m.
              NA fka Norwest Bank
              Minnesota NA
              Wells Fargo Bank NA
              successor by merger to
                                                                       Status hearing on objection adjourned to
    15        Wells Fargo Bank Minnesota         9741         10501
                                                                       December 17, 2013 at 2:00 p.m.
              NA fka Norwest Bank
              Minnesota NA as Trustee
              Wells Fargo Bank NA
              successor by merger to
                                                                       Status hearing on objection adjourned to
    15        Wells Fargo Bank Minnesota         9450         10501
                                                                       December 17, 2013 at 2:00 p.m.
              NA fka Norwest Bank
              Minnesota NA as Trustee
                                                                       Status hearing on objection adjourned to
    15        Woodmont Sherman LP               11526                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
    15        Woodmont Sherman LP               13421                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.

                                                                       Status hearing on objection adjourned to
    17        1003 College Station              14515                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              ALMADEN PLAZA SHOPPING CTR
    17                                          12122                  December 17, 2013 at 2:00 p.m. with
              INC
                                                                       opposition due December 10, 2013.
              Bank of America National
              Association Successor by
                                                                       Status hearing on objection adjourned to
    17        Merger to LaSalle Bank            12663         10509
                                                                       December 17, 2013 at 2:00 p.m.
              National Association
              (Capmark Finance, Inc.)
                                                                       Status hearing on objection adjourned to
              BFLO Waterford Associates,
    17                                           9952                  December 17, 2013 at 2:00 p.m. with
              LLC – Exhibit C
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              BFLO Waterford Associates,
    17                                           9952                  December 17, 2013 at 2:00 p.m. with
              LLC – Exhibit F
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Bond Circuit I Delaware
    17                                          13440                  December 17, 2013 at 2:00 p.m. with
              Business Trust
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Bond Circuit IV Delaware
    17                                          12765                  December 17, 2013 at 2:00 p.m. with
              Business Trust
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Bond Circuit VI Delaware
    17                                          13426                  December 17, 2013 at 2:00 p.m. with
              Business Trust
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Bond Circuit VI Delaware
    17                                          13439                  December 17, 2013 at 2:00 p.m. with
              Business Trust
                                                                       opposition due December 10, 2013.

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Catellus Operating Limited                               Status hearing on objection adjourned to
    17                                          12328         10264
              Partnership                                              December 17, 2013 at 2:00 p.m.
                                                                       This matter has been settled pursuant to
                                                              10265
              Catellus Operating Limited                               procedures previously approved by this
    17                                          13708         10266
              Partnership                                              Court, and the matter may be removed from
                                                              10267
                                                                       the Court’s docket.
                                                12718
                                                12721
                                                12722
                                                12725
                                                13716
                                                14053
                                                14270                  Status hearing on objection adjourned to
    17        CC Acquisitions, L.C.             14288         10404    December 17, 2013 at 2:00 p.m.
                                                14290
                                                14518
                                                14521
                                                14522
                                                14523
                                                14574
                                                14577
                                                                       Status hearing on objection adjourned to
    17        CC Investors 1997 11               9955                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Centro Properties Group a                                December 17, 2013 at 2:00 p.m. with
    17                                          12584
              Parkway Plaza Vestal NY                                  opposition due December 10, 2013.

                                                                       Status hearing on objection adjourned to
              Centro Properties Group ta
                                                                       December 17, 2013 at 2:00 p.m. with
    17        Freshwater Stateline Plaza        12628
                                                                       opposition due December 10, 2013.
              Enfield CT



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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Circuit Investors No 4                                   Status hearing on objection adjourned to
    17        Thousand Oaks Limited              8163                  December 17, 2013 at 2:00 p.m. with
              Partnership                                              opposition due December 10, 2013.
              CMAT-1999-C1 Grand River                                 Status hearing on objection adjourned to
    17                                           5002         10316
              Ave, LLC                                                 December 17, 2013 at 2:00 p.m.
                                                 7631                  Status hearing on objection adjourned to
    17        Crown CCI, LLC                                  10338
                                                13467                  December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    17        Eastland Plaza LLC                 7885         12143
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
              General Growth Management                                December 17, 2013 at 2:00 p.m. with
    17                                          14439
              Inc.                                                     opposition due December 10, 2013.

                                                 9717
                                                 9719                  Status hearing on objection adjourned to
              Inland Traverse City,
    17                                          12827         10389    December 17, 2013 at 2:00 p.m.
              L.L.C., et al.
                                                13968
                                                14929
                                                                       Status hearing on objection adjourned to
    17        Kamin Realty Company              12096                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Melville Realty Company                                  December 17, 2013 at 2:00 p.m. with
    17                                           7491
              Inc.                                                     opposition due December 10, 2013.

                                                                       Status hearing on objection adjourned to
                                                                       December 17, 2013 at 2:00 p.m. with
    17        New River Properties LLC          12418
                                                                       opposition due December 10, 2013.

                                                                       Status hearing on objection adjourned to
              Park National Bank                                       December 17, 2013 at 2:00 p.m. with
    17                                          14078
              Successor Trustee                                        opposition due December 10, 2013.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
    17        Schiffman Circuit Props            3541                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    17                                          13731                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                       opposition due December 10, 2013.
                                                                       This matter has been settled pursuant to
              United States Debt Recovery                              procedures previously approved by this
    17                                           8614
              V LP                                                     Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    17                                          12588                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery       12589
    17                                                                 December 17, 2013 at 2:00 p.m. with
              V LP                              12735
                                                                       opposition due December 10, 2013.
                                                                       This matter has been settled pursuant to
              United States Debt Recovery                              procedures previously approved by this
    17                                          12819
              V LP                                                     Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    17                                          13731                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    17                                          14361                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    17                                          14519                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    17                                          15110                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                       opposition due December 10, 2013.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    17                                          15112                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                       opposition due December 10, 2013.
              United States Debt Recovery                              Status hearing on objection adjourned to
              V LP Assignee of 1251                                    December 17, 2013 at 2:00 p.m. with
    17        Fourth Street Investors LLC       15101                  opposition due December 10, 2013.
              and Beverly Gemini
              Investments LLC
              United States Debt Recovery                              Status hearing on objection adjourned to
    17        V LP Assignee of CC               15115                  December 17, 2013 at 2:00 p.m. with
              Properties LLC                                           opposition due December 10, 2013.
              United States Debt Recovery                              Status hearing on objection adjourned to
    17        V LP Assignee of CC               15113                  December 17, 2013 at 2:00 p.m. with
              Properties LLC                                           opposition due December 10, 2013.
              United States Debt Recovery                              Status hearing on objection adjourned to
    17        V LP Assignee of CC               15116                  December 17, 2013 at 2:00 p.m. with
              Properties LLC                                           opposition due December 10, 2013.
              United States Debt Recovery                              Status hearing on objection adjourned to
    17        V LP Assignee of CC               15117                  December 17, 2013 at 2:00 p.m. with
              Properties LLC                                           opposition due December 10, 2013.
              United States Debt Recovery                              Status hearing on objection adjourned to
    17        V LP Assignee of Faber            15109                  December 17, 2013 at 2:00 p.m. with
              Brothers Inc.                                            opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    17                                          15111                  December 17, 2013 at 2:00 p.m. with
              V LP Assignee of FRO LLC IX
                                                                       opposition due December 10, 2013.
              United States Debt Recovery                              Status hearing on objection adjourned to
    17        V LP Assignee of Rancon           15072                  December 17, 2013 at 2:00 p.m. with
              Realty Fund IV                                           opposition due December 10, 2013.
              United States Debt Recovery                              Status hearing on objection adjourned to
    17        V LP assignee of CC               14520                  December 17, 2013 at 2:00 p.m. with
              Properties LLC                                           opposition due December 10, 2013.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              United States Debt Recovery                              Status hearing on objection adjourned to
    17        V LP Assignee of Rancon           12121                  December 17, 2013 at 2:00 p.m. with
              Realty Fund IV                                           opposition due December 10, 2013.
              United States Debt Recovery                              Status hearing on objection adjourned to
    17        V LP assigned of Hoprock          10186                  December 17, 2013 at 2:00 p.m. with
              Limonite LLC                                             opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    17        Vornado Gun Hill Road LLC          8496                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    17        Vornado Gun Hill Road LLC         13970                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Walton Whitney Investors V
    17                                          12481                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Walton Whitney Investors V
    17                                          13424                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    17        Wilmington Trust Company          13171                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.

              Alameda County Treasurer-         14821                  Status hearing on objection adjourned to
    18                                                        10405
              Tax Collector                     15155                  December 17, 2013 at 2:00 p.m.
              Broward County Record Taxes                              This matter has been resolved and may be
    18                                          15024
              and Treasury Division                                    removed from the Court’s docket.
              Broward County Record Taxes                              This matter has been resolved and may be
    18                                          15025
              and Treasury Division                                    removed from the Court’s docket.
                                                                       Status hearing on Objection adjourned to
    18        City of Philadelphia               1530
                                                                       December 17, 2013 at 2:00 p.m.
                                                 579                   Status hearing on objection adjourned to
              Los Angeles City Attorney’s
    18                                          11862         10680    December 17, 2013 at 2:00 p.m.
              Office
                                                14738

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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              Massachusetts-Commissioner                                Status hearing on objection adjourned to
    18                                           12953         10247
              of Dept. of Revenue                                       December 17, 2013 at 2:00 p.m.
              Monterey County Tax                                       Status hearing on objection adjourned to
    18                                            4733         10680
              Collector                                                 December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
    18        Ohio Dept. of Commerce             12880         10446
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on Objection adjourned to
    18        Ohio Department of Taxation        13066
                                                                        December 17, 2013 at 2:00 p.m.
                                                   565                  Status hearing on objection adjourned to
                                                  1628                  December 17, 2013 at 2:00 p.m.
    18        Ohio Dept. of Taxation                           10447
                                                 15186
                                                 15187
                                                                        Status hearing on objection adjourned to
    18        Ohio Dept of Taxation               5998         10448
                                                                        December 17, 2013 at 2:00 p.m.
                                                  2243
              Seminole County, Florida            2244                  Status hearing on objection adjourned to
    18                                                         10336
              Tax Collector, Ray Valdes          14833                  December 17, 2013 at 2:00 p.m.
                                                 14834
                                                 11845                  Status hearing on objection adjourned to
              United States of America –
    18                                           11847         10304    December 17, 2013 at 2:00 p.m.
              IRS
                                                 14816

              Acadia Realty Limited                                     Status hearing on objection adjourned to
    20        Partnership fka Mark               13802                  December 17, 2013 at 2:00 p.m. with
              Centers Limited partnership                               opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    20        Basser Kaufman 222 LLC              8678                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    20        Basser Kaufman 312 LLC             14703                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    20        Basser Kaufman 312 LLC             12509                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
    20        Basser Kaufman                     14416                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    20        CC Investors 1996 14               11572                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    20        CC Investors 1996 9                11829                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Cencor Realty Services Inc,
    20                                           12541                  December 17, 2013 at 2:00 p.m. with
              Agent for SWQ 35 Forum LTD
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Cencor Realty Services Inc.
    20                                           12544                  December 17, 2013 at 2:00 p.m. with
              Agent for SWQ 35 Forum LTD
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Centro Properties Group ta
    20                                           12583                  December 17, 2013 at 2:00 p.m. with
              Baybrook Gateway Webster TX
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Centro Properties Group ta
    20                                           12616                  December 17, 2013 at 2:00 p.m. with
              Baybrook Gateway Webster TX
                                                                        opposition due December 10, 2013.
              CK Richmond Business                                      Status hearing on objection adjourned to
    20        Services No. 2 Limited              8151                  December 17, 2013 at 2:00 p.m. with
              Liability Company                                         opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    20        Colonial Square Associates         12468                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    20        Colonial Square Associates         13449                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              CVS Pharmacy Inc. and                                     Status hearing on objection adjourned to
    20        Melville Realty Company,           14362                  December 17, 2013 at 2:00 p.m. with
              Inc.                                                      opposition due December 10, 2013.

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
    20        CVS Pharmacy, Inc.                 7492                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
              Federal Realty Investment                                Status hearing on objection adjourned to
              Trust ta Troy Hills                                      December 17, 2013 at 2:00 p.m. with
    20                                          12086
              Shopping Center Parsippany                               opposition due December 10, 2013.
              NJ
              Federal Realty Investment                                Status hearing on objection adjourned to
              Trust ta Troy Hills                                      December 17, 2013 at 2:00 p.m. with
    20                                          12085
              Shopping Center Parsippany                               opposition due December 10, 2013.
              NJ
                                                                       Status hearing on objection adjourned to
    20        Marlton VF LLC                     8782                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    20        Marlton VF LLC                    11990                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    20        Marlton VF LLC                    13971                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
              Park National Bank as
              assignee of rents under                                  Status hearing on objection adjourned to
              Henrico County Virginia                                  December 17, 2013 at 2:00 p.m. with
    20                                           9009
              Deed of Lease with CK                                    opposition due December 10, 2013.
              Richmond Business Services
              No. 2
                                                                       Status hearing on objection adjourned to
    20        Parkdale Mall Associates LP       12201                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                12855                  Status hearing on objection adjourned to
    20        Starpoint Properties LLC                        10362
                                                14343                  December 17, 2013 at 2:00 p.m.



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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              U.S. Bank National                                       Status hearing on objection adjourned to
              Association, as purchaser                                December 17, 2013 at 2:00 p.m. with
    20                                          14798
              of assets of Park National                               opposition due December 10, 2013.
              Bank
                                                                       Status hearing on objection adjourned to
              Weingarten Miller Sheridan
    20                                          11158                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    20                                          12416                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    20                                          12023                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    20                                          12004                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    20                                          12011                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    20                                          12012                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    20                                          12013                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    20                                          13079                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    20                                          12014                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    20                                          14315                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.
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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection

                                                                        Status hearing on objection adjourned to
    21        AmCap Arborland LLC                12514                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Bank of America National
              Association as Successor by
              Merger to LaSalle Bank                                    Request for Hearing (Doc. 10426)-
              National Association fka La                               Status hearing on objection adjourned to
    21                                           14859         10425
              Salle National Bank as                                    December 17, 2013 at 2:00 p.m.
              Trustee for the Registered
              Holders of GMAC Commercial
              Mortgage Securities Inc.
                                                                        Status hearing on objection adjourned to
    21        Benenson Columbus OH Trust         13614                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    21        Capmark Finance, Inc.               9444         10504
                                                                        December 17, 2013 at 2:00 p.m.
              Capmark Finance Inc.’s                                    Status hearing on objection adjourned to
    21                                            9444         10377
              Request for Hearing                                       December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
              CC 223 Andover Park East
    21                                           13974                  December 17, 2013 at 2:00 p.m. with
              Tukwila LLC
                                                                        opposition due December 10, 2013.
              Centro Properties Group ta                                Status hearing on objection adjourned to
    21        Conyers Crossroads,                12540                  December 17, 2013 at 2:00 p.m. with
              Conyers, GA                                               opposition due December 10, 2013.
              Centro Properties Group ta                                Status hearing on objection adjourned to
    21        Conyers Crossroads,                12556                  December 17, 2013 at 2:00 p.m. with
              Conyers, GA                                               opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Centro Properties Group ta
    21                                           12580                  December 17, 2013 at 2:00 p.m. with
              Parkway Plaza Vestal NY
                                                                        opposition due December 10, 2013.
              Century Plaza Development          11669                  Status hearing on objection adjourned to
    21                                                         10390
              Corp.                              11238                  December 17, 2013 at 2:00 p.m.

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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
    21        Circuit Sports, LP                 13434         10379
                                                                        December 17, 2013 at 2:00 p.m.
              CW Investors 1997 12 by its                               Status hearing on objection adjourned to
    21        Receiver CW Capital Asset          12529                  December 17, 2013 at 2:00 p.m. with
              Management LLC                                            opposition due December 10, 2013.
              CW Capital Asset Management
              LLC as Special Servicer for                               Status hearing on objection adjourned to
    21        Bank of America NA                 13953         10827    December 17, 2013 at 2:00 p.m.
              Successor by merger to
              LaSalle Bank NA as Trustee
                                                                        Status hearing on objection adjourned to
    21        Eagleridge Associates              12768                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    21        Eagleridge Associates              12769                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    21        FC Treeco Columbia Park LLC        12802                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Generation H One and Two                         10416    Status hearing on objection adjourned to
    21                                           13635
              Limited Partnership                              11873    December 17, 2013 at 2:00 p.m.
                                                                        This matter has been settled pursuant to
                                                                        procedures previously approved by this
    21        Hayden MEADOWS                     14878         10458
                                                                        Court, and the matter may be removed from
                                                                        the Court’s docket.
                                                  9722
              Inland Western Oswego Gerry        10024                  Status hearing on objection adjourned to
    21                                                         10384
              Centennial LLC                     14079                  December 17, 2013 at 2:00 p.m.
                                                 14931
              International Speedway                                    Status hearing on objection adjourned to
    21                                           14142         10347
              Square Ltd.                                               December 17, 2013 at 2:00 p.m.



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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Key Bank NA as Master
              Servicer and ORIX Capital                                Status hearing on objection adjourned to
    21                                          12420         10816
              Markets LLC as Special                                   December 17, 2013 at 2:00 p.m.
              Servicer
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    21        Kite Coral Springs, LLC           14170         10346
                                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    21        Kite Coral Springs, LLC           12873         10349
                                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       Status hearing on objection adjourned to
    21        Marple XYZ Associates             14047                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    21        Montclair Plaza LLC                4373                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    21        ORIX Capital Markets LLC          14058         10820
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    21        Saugus Plaza Associates           13504                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Tysons Corner Holdings LLC
    21                                          14128                  December 17, 2013 at 2:00 p.m. with
              Macerich 203270 1467
                                                                       opposition due December 10, 2013.
              Tysons Corner Holdings LLC                               Status hearing on objection adjourned to
    21        Macerich Tysons Corner Road        9530                  December 17, 2013 at 2:00 p.m. with
              Shop                                                     opposition due December 10, 2013.
              Tysons Corner Holdings LLC                               Status hearing on objection adjourned to
    21        Macerich Tysons Corner Road        9537                  December 17, 2013 at 2:00 p.m. with
              Shop                                                     opposition due December 10, 2013.


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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
    21        VNO TRU Dale Mabry LLC              8784                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    21        VNO TRU Dale Mabry LLC             13972                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    21        Wayne VF LLC                       13920                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    21        Weingarten Nostat Inc.             13983                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Wells Fargo Bank NA
              Successor by Merger to                                    Status hearing on objection adjourned to
    21        Wells Fargo Bank Minnesota          9444         10369    December 17, 2013 at 2:00 p.m.
              NA fka Norwest Bank
              Minnesota NA as Trustee
                                                                        Status hearing on objection adjourned to
              WRI Lakeside Marketplace
    21                                           14410                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              WRI Seminole Marketplace,
    21                                           13986                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                        opposition due December 10, 2013.

                                                                        Status hearing on objection adjourned to
              Old Republic Insurance
    23                                            7368                  December 17, 2013 at 2:00 p.m. with
              Company
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7369                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7370                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.

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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7372                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7373                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7374                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7375                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7377                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7378                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7379                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7380                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7381                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7382                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7383                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.

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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7384                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7385                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Old Republic Insurance                                    Status hearing on objection adjourned to
    23        Company                             7386                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Verizon Communications Inc.
    23                                            9249                  December 17, 2013 at 2:00 p.m. with
              Subsidiaries
                                                                        opposition due December 10, 2013.

              Antonio Precise Products                                  Status hearing on objection adjourned to
    24                                            1471         11490
              Manufactory Limited                                       December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
    24        Novar Controls Corporation          1768                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    24        Verizon                             5991                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.

              Williams Mullen Clark &                                   Status hearing on objection adjourned to
    25                                            6757         11427
              Dobbins                                                   December 17, 2013 at 2:00 p.m.

                                                                        Status hearing on objection adjourned to
    26        Ikon Financial Services            13414                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.




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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       This matter has been consolidated with
                                                                       other related objections. The response
                                                                       deadline has been extended by agreement
    26        Sensormatic                       11546                  of the parties. Status hearing on
                                                                       objection adjourned to December 17, 2013
                                                                       at 2:00 p.m. with opposition due December
                                                                       10, 2013.
                                                                       Status hearing on objection adjourned to
    26        S&S Industrial Maintenance         114          11540
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    26        S&S Industrial Maintenance         3253         11540
                                                                       December 17, 2013 at 2:00 p.m.

                                                                       Status hearing on objection adjourned to
    27        Ohio Department of Taxation        523          11618
                                                                       December 17, 2013 at 2:00 p.m.

                                                                       Status hearing on objection adjourned to
              Alexanders Rego Shopping
    28                                          12695                  December 17, 2013 at 2:00 p.m. with
              Center Inc.
                                                                       opposition due December 10, 2013.
              Berkshire Management Corp.
                                                                       Status hearing on objection adjourned to
    28        Agent for Berkshire Hyannis       10814         11609
                                                                       December 17, 2013 at 2:00 p.m.
              LLC
                                                                       Status hearing on objection adjourned to
    28        Bond CC IV DBT                     8710                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Bond Circuit IF Delaware
    28                                          15019                  December 17, 2013 at 2:00 p.m. with
              Trust
                                                                       opposition due December 10, 2013.
              Brixmor Property Group,
              Inc. (fka Centro Properties                              Status hearing on objection adjourned to
    28                                          10814         11609
              Group), Berkshire Hyannis                                December 17, 2013 at 2:00 p.m.
              LLC, et al.



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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Brixmor Property Group,
              Inc. (fka Centro Properties                              Status hearing on objection adjourned to
    28                                          12618         11609
              Group), Springbrook Plaza,                               December 17, 2013 at 2:00 p.m.
              et al.
              Brixmor Property Group,
              Inc. (fka Centro Properties                              Status hearing on objection adjourned to
    28                                          12542         11609
              Group), Westminster City                                 December 17, 2013 at 2:00 p.m.
              Center, et al.
              Brixmor Property Group,
              Inc. (fka Centro Properties                              Status hearing on objection adjourned to
    28                                          12622         11609
              Group), Greece Ridge, et                                 December 17, 2013 at 2:00 p.m.
              al.
              Brixmor Property Group,
              Inc. (fka Centro Properties                              Status hearing on objection adjourned to
    28                                          12992         11609
              Group), Fort Evans Plaza,                                December 17, 2013 at 2:00 p.m.
              et al.
                                                                       Status hearing on objection adjourned to
    28        Capital Centre LLC                12743         11629
                                                                       December 17, 2013 at 2:00 p.m.
                                                              11589
                                                              11590
                                                                       Status hearing on objection adjourned to
    28        Capmark Finance, Inc.              9051         11622
                                                                       December 17, 2013 at 2:00 p.m.
                                                              12147
                                                              12149
                                                              11591
                                                                       Status hearing on objection adjourned to
    28        Capmark Finance, Inc.              9438         11592
                                                                       December 17, 2013 at 2:00 p.m.
                                                              11620
                                                              11593
                                                                       Status hearing on objection adjourned to
    28        Capmark Finance, Inc.              9452         11594
                                                                       December 17, 2013 at 2:00 p.m.
                                                              11624
                                                              11595
                                                              11596    Status hearing on objection adjourned to
    28        Capmark Finance, Inc.              9454
                                                              11623    December 17, 2013 at 2:00 p.m.
                                                              12148

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                              11597
                                                              11598    Status hearing on objection adjourned to
    28        Capmark Finance, Inc.             10034
                                                              11621    December 17, 2013 at 2:00 p.m.
                                                              12150
                                                                       Status hearing on objection adjourned to
              CC 223 Andover Park East
    28                                          12706                  December 17, 2013 at 2:00 p.m. with
              Tukwila LLC
                                                                       opposition due December 10, 2013.
              Centro Properties Group ta
                                                                       Status hearing on objection adjourned to
    28        Springbrook Plaza Canton          12618
                                                                       December 17, 2013 at 2:00 p.m.
              Ohio
              Centro Properties Group ta
                                                                       Status hearing on objection adjourned to
    28        Westminster City                  12542
                                                                       December 17, 2013 at 2:00 p.m.
              Center Westminster CO
                                                                       Status hearing on objection adjourned to
    28        CLF Trust                         15245                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    28        CLF Trust                         15243                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    28        CTL Trust                         15244                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    28        CW Capital                        12846         11746
                                                                       December 17, 2013 at 2:00 p.m.
              Decatur Plaza I LLC                                      Status hearing on objection adjourned to
    28        (Exh. D) (LBUBS/LNR               12777         11770    December 17, 2013 at 2:00 p.m.
              Partners)
              Decatur Plaza I LLC                                      Status hearing on objection adjourned to
    28        (Exh. E) (LBUBS/LNR               12777         11770    December 17, 2013 at 2:00 p.m.
              Partners)
              Generation H One and Two                                 Status hearing on objection adjourned to
    28                                          12537         11873
              Limited Partnership                                      December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    28        Greece Ridge LLC                  12622
                                                                       December 17, 2013 at 2:00 p.m.
                                                         50
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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
    28        Green Acres Mall LLC               12701                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Inland Western Columbus                                   Status hearing on objection adjourned to
    28                                           12642         11629
              Clifty, L.L.C.                                            December 17, 2013 at 2:00 p.m.
              Inland Western Lewisville
                                                                        Status hearing on objection adjourned to
    28        Lakepointe Lmited                  12645         11629
                                                                        December 17, 2013 at 2:00 p.m.
              Partnership
              Inland Western Phillipsburg                               Status hearing on objection adjourned to
    28                                           12742         11629
              Greenwich, L.L.C.                                         December 17, 2013 at 2:00 p.m.
              Inland Western Richmond                                   Status hearing on objection adjourned to
    28                                           13083         11629
              Maryland, L.L.C.                                          December 17, 2013 at 2:00 p.m.
              Inland Western West Mifflin                               Status hearing on objection adjourned to
    28                                           12640         11629
              Century III, L.P.                                         December 17, 2013 at 2:00 p.m.
                                                                        This matter has been settled pursuant to
              International Speedway                                    procedures previously approved by this
    28                                           12760         11612
              Square, Ltd.                                              Court, and the matter may be removed from
                                                                        the Court’s docket.
                                                                        Status hearing on objection adjourned to
    28        KSK Scottsdale Mall LP              9245         11610
                                                                        December 17, 2013 at 2:00 p.m.
              MB Fabyan Randall Plaza                                   Status hearing on objection adjourned to
    28                                           10023         11629
              Batavia, L.L.C.                                           December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
    28        Midland Loan Services Inc.         12311                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              National Western Life               8136                  Status hearing on objection adjourned to
    28                                                         11619
              Insurance Company                  11937                  December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
              Palm Springs Mile
    28                                           12667                  December 17, 2013 at 2:00 p.m. with
              Associates Ltd.
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    28        Park Side Realty LP                 1862                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.

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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
    28        Potomac Run LLC                    11956                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Rivergate Station Shopping
    28                                            902                   December 17, 2013 at 2:00 p.m. with
              Center LP
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    28        Saugus Plaza Associates            12510                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    28        Saugus Plaza Associates            14704                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Uniwest Management Services
              Inc. Owner or Agent for
              Battlefield FE Limited                                    Status hearing on objection adjourned to
    28                                           12992
              Partners, ta Fort Evans                                   December 17, 2013 at 2:00 p.m.
              Plaza II Leesburg, VA
              (SAME AS BRIXMOR)
                                                                        Status hearing on objection adjourned to
    28        VNO Tru Dale Mabry LLC             12629                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    28        Wayne VF LLX                       12703                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    28        Weingarten Nostat Inc.             12635                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    28                                           12009                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              WRI Lakeside Marketplace
    28                                            9372                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                        opposition due December 10, 2013.

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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              WRI Lakeside Marketplace                                  Status hearing on objection adjourned to
    28        LLC                                12807                  December 17, 2013 at 2:00 p.m. with
              (Exh. D)                                                  opposition due December 10, 2013.
              WRI Lakeside Marketplace                                  Status hearing on objection adjourned to
    28        LLC                                12807                  December 17, 2013 at 2:00 p.m. with
              (Exh. E)                                                  opposition due December 10, 2013.

                                                                        Status hearing on objection adjourned to
    29        AMERICAN ELECTRIC POWER             762                   December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    29        Aquent                              925          11838
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
    29        Erie Times News                     1381         11884
                                                                        December 17, 2013 at 2:00 p.m.
              Ohio Bureau of Workers’                          11876    Status hearing on objection adjourned to
    29                                           14883
              Compensation                                     11877    December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
    29        OHIO EDISON                         168                   December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Turner Broadcasting System
    29                                           15230                  December 17, 2013 at 2:00 p.m. with
              Inc
                                                                        opposition due December 10, 2013.

                                                                        Status hearing on objection adjourned to
    30        A&E TELEVISION NETWORK              924                   December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    30        Atlantic City Electric              2481         11910
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Per agreement of counsel for the
    30        AUDREY SOLTIS                      15047
                                                                        Claimant, the objection may be sustained.




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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    30        B.R. Fries'                        7451                  Court, and the Trust requests that the
                                                                       matter be continued until December 17,
                                                                       2013 for documentation and consummation.
                                                                       Status hearing on objection adjourned to
    30        Carole Kaylor                     15138         11885
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       [Response in mail] Status hearing on
    30        Chrin Hauling, Inc.                9339                  objection adjourned to December 17, 2013
                                                                       at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    30        City of Homestead FL               1780         11937
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    30        COMED                              2306                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    30        CONNECTICUT LIGHT AND POWER       14584                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
              Consolidated Edison Company                              Status hearing on objection adjourned to
    30                                           1842         11888
              of New York, Inc.                                        December 17, 2013 at 2:00 p.m.
                                                                       THE STATUS HEARING ON THIS RESPONSE IS
    30        DELMARVA POWER                     2482         11910    ADJOURNED TO December 17, 2013 at 2:00
                                                                       p.m.
                                                 1797                  Status hearing on objection adjourned to
    30        Duke Energy et al                 10128                  December 17, 2013 at 2:00 p.m. with
                                                10129                  opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    30        Entergy Arkansas Inc.              6083         11909
                                                                       December 17, 2013 at 2:00 p.m.
              Entergy Gulf States                                      Status hearing on objection adjourned to
    30                                           6085         11909
              Louisiana, L.L.C.                                        December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    30        Entergy Louisiana LLC              6082         11909
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    30        Entergy Mississippi Inc.           6506         11909
                                                                       December 17, 2013 at 2:00 p.m.
                                                         54
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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
    30        Entergy Texas Inc.                  6086         11909
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
    30        Gary Chamberlain                    6562         11863
                                                                        December 17, 2013 at 2:00 p.m.
              Ferguson Cabling                                          Status hearing on objection adjourned to
    30                                            1851         11882
              Corporation                                               December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
    30        First Energy                        8815                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    30        Illuminating Co.                    167                   December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              JERSEY CENTRAL POWER &                                    Status hearing on objection adjourned to
    30        LIGHT A FIRST ENERGY                127                   December 17, 2013 at 2:00 p.m. with
              COMPANY                                                   opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    30        Mary LoPresti                       5401         11891
                                                                        December 17, 2013 at 2:00 p.m.

              Express Inc – Satellite                                   Status hearing on objection adjourned to
    31                                            6633         11932
              Express Int.                                              December 17, 2013 at 2:00 p.m.
              Fort Myers Cape Coral                                     Status hearing on objection adjourned to
    31                                           13220         11842
              Courtyard Marriott                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
    31        Gloria E. Scarnati                 11481         11860
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
    31        Mercer                              348                   December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    31        Modesto Irrigation District         3363         11931
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
    31        Nashville Electric Service          4253         11897
                                                                        December 17, 2013 at 2:00 p.m.
              Ohio Bureau of Workers’                          11876    Status hearing on objection adjourned to
    31                                            5999
              Compensation                                     11877    December 17, 2013 at 2:00 p.m.

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
    31        Patricia Johnson                  13035         11890
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    31        Patricia Scott                     8244         11907
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    31        Patrick J. Manzi                  15178         11924
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    31        Patriot Disposal Co., Inc.         6755         11881
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    31        Premier Mounts                     3911         11892
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    31        Rende, Ryan & Downes, LLP         10893         11880
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    31        Robert E. Marshall                15211         12117
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    31        Rochester Gas                      5412                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    31        S.A. Comunale Co., Inc.            2495         11862
                                                                       December 17, 2013 at 2:00 p.m.
              San Rafael Finance
                                                                       Status hearing on objection adjourned to
    31        Department City of San             5667         11923
                                                                       December 17, 2013 at 2:00 p.m.
              Rafael
              South Carolina Electric &                                Status hearing on objection adjourned to
    31                                           8619         11898
              Gas Company                                              December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    31        The Connecticut Light/Power        105                   December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
              TXU Energy Retail Company                       11908    Status hearing on objection adjourned to
    31                                           4518
              LLC                                             11915    December 17, 2013 at 2:00 p.m.
                                                15022         11901    Status hearing on objection adjourned to
    31        Vadim Rylov
                                                15023         11951    December 17, 2013 at 2:00 p.m.



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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                15094                  Status hearing on objection adjourned to
    32        Bruce H. Besanko                  15095                  December 17, 2013 at 2:00 p.m. with
                                                15096                  opposition due December 10, 2013.

                                                                       THE STATUS HEARING ON THIS OBJECTION IS
    38        AMERICAN ELECTRIC POWER            762                   ADJOURNED TO December 17, 2013 at 2:00
                                                                       p.m. WITH RESPONSE DUE DECEMBER 10, 2013.
                                                                       Status hearing on objection adjourned to
    38        Brenda Blackshear                  4333         12018
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
    38        TOLEDO EDISON                      166                   ADJOURNED TO December 17, 2013 at 2:00
                                                                       p.m. WITH RESPONSE DUE DECEMBER 10, 2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
    38        WESTERN MASSACHUSETTS              387                   ADJOURNED TO December 17, 2013 at 2:00
                                                                       p.m. WITH RESPONSE DUE DECEMBER 10, 2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
    38        Wisconsin Power & Light            6490                  ADJOURNED TO December 17, 2013 at 2:00
                                                                       p.m. WITH RESPONSE DUE DECEMBER 10, 2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
    38        YANKEE GAS                         562                   ADJOURNED TO December 17, 2013 at 2:00
                                                                       p.m. WITH RESPONSE DUE DECEMBER 10, 2013.

                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        1003 COLLEGE STATION LLC          14515
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        4110 MIDLAND LLC                  12708
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        4905 WACO LLC                     12710
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              9121 EAST 71ST STREET                                     ADJOURNED TO December 17, 2013 at 2:00
    39                                           11702
              HOLDINGS LLC                                              p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                               12459    Status hearing on objection adjourned to
    39        Abercorn Common LLLP               12682
                                                               12488    December 17, 2013 at 2:00 p.m.
                                                 12241                  Status hearing on objection adjourned to
    39        Abilene-Ridgemont, LLC                           12116
                                                 14599                  December 17, 2013 at 2:00 p.m.
              Alexander H. Bobinski, as
                                                                        Status hearing on objection adjourned to
    39        Trustee under Trust No.            12498         12033
                                                                        December 17, 2013 at 2:00 p.m.
              1001
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              ALEXANDERS REGO SHOPPING                                  ADJOURNED TO December 17, 2013 at 2:00
    39                                           12695
              CENTER INC                                                p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              ALTAMONTE SPRINGS REAL                                    ADJOURNED TO December 17, 2013 at 2:00
    39                                           12314
              ESTATE ASSOCIATES LLC                                     p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    39        AMCAP ARBORLAND LLC                12514
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    39        AMHERST VF LLC                     12697
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
              Anna Schwartz, Zoltan
              Schwartz, Deborah Landman,
                                                               12121    Status hearing on objection adjourned to
    39        Eli Landman (National              11937
                                                               12123    December 17, 2013 at 2:00 p.m.
              Western Life Insurance
              Company)


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              AVE FORSYTH LLC COUSINS                                  ADJOURNED TO December 17, 2013 at 2:00
    39                                           9506
              STORE NO 4252                                            p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       Status hearing on objection adjourned to
    39        Baker Natick Promenade LLC        12513         12112
                                                                       December 17, 2013 at 2:00 p.m.
              Berkadia Commercial
              Mortgage LLC (Bank of                           12132
              America NA as successors by                     12156    Status hearing on objection adjourned to
    39                                           9449
              merger to LaSalle Bank NA                       12240    December 17, 2013 at 2:00 p.m.
              as Trustee for the                              12248
              Registered Holders of GMAC)
              Berkadia Commercial
              Mortgage LLC (Bank of
              America NA as successors by                     12163    Status hearing on objection adjourned to
    39                                           9488
              merger to LaSalle Bank NA                       12262    December 17, 2013 at 2:00 p.m.
              as Trustee for the
              Registered Holders of GMAC)
              BANK OF AMERICA NA AS
              SUCCESSORS BY MERGER TO                         12132    THE STATUS HEARING ON THIS OBJECTION IS
              LASALLE BANK NATIONAL                           12156    ADJOURNED TO December 17, 2013 at 2:00
    39                                           9449
              ASSOCIATION AS TRUSTEE FOR                      12240    p.m. WITH OPPOSITION DUE DECEMBER 10,
              THE REGISTERED (CAPMARK                         12248    2013.
              FINANCE INC)
              Berkadia Commercial
              Mortgage LLC (Bank of
                                                              12135    Status hearing on objection adjourned to
    39        America NA successor by            9454
                                                              12255    December 17, 2013 at 2:00 p.m.
              merger to LaSalle Bank NA
              fka LaSalle National Bank)
              Berkadia Commercial
                                                              12137
     39       Mortgage LLC (Bank of
                                                              12168    Status hearing on objection adjourned to
 (Actually    America NA successor by            9734
                                                              12237    December 17, 2013 at 2:00 p.m.
   in 43)     merger to LaSalle Bank NA
                                                              12256
              fka LaSalle National Bank)
                                                         59
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Berkadia Commercial                             12139
     39       Mortgage LLC (Bank of                           12169
                                                                       Status hearing on objection adjourned to
 (Actually    America NA successor by            9721         12235
                                                                       December 17, 2013 at 2:00 p.m.
   in 43)     merger to LaSalle Bank NA                       12239
              fka LaSalle National Bank)                      12263
              Berkadia Commercial
                                                              12140
              Mortgage LLC (Bank of
                                                              12151    Status hearing on objection adjourned to
    39        America NA successor by           10028
                                                              12257    December 17, 2013 at 2:00 p.m.
              merger to LaSalle Bank NA
                                                              12261
              fka LaSalle National Bank)
              Berkadia Commercial
              Mortgage LLC (Bank of
                                                              12159    Status hearing on objection adjourned to
    39        America NA successor by            9704
                                                              12250    December 17, 2013 at 2:00 p.m.
              merger to LaSalle Bank NA
              fka LaSalle National Bank)
              Berkadia Commercial
              Mortgage LLC (Bank of
                                                              12160    Status hearing on objection adjourned to
    39        America NA successor by            9740
                                                              12251    December 17, 2013 at 2:00 p.m.
              merger to LaSalle Bank NA
              fka LaSalle National Bank)
              Berkadia Commercial
              Mortgage LLC (Bank of
                                                              12165    Status hearing on objection adjourned to
    39        America NA successor by           10030
                                                              12260    December 17, 2013 at 2:00 p.m.
              merger to LaSalle Bank NA
              fka LaSalle National Bank)
              Berkadia Commercial
              Mortgage LLC (Bank of
                                                              12164    Status hearing on objection adjourned to
    39        America NA successor by           14859
                                                              12253    December 17, 2013 at 2:00 p.m.
              merger to LaSalle Bank NA
              fka LaSalle National Bank)




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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Berkadia Commercial                             12171
              Mortgage LLC (Bank of                           12175
                                                                       Status hearing on objection adjourned to
    39        America NA successor by            9724         12236
                                                                       December 17, 2013 at 2:00 p.m.
              merger to LaSalle Bank NA                       12259
              fka LaSalle National Bank)                      12264
              BANK OF AMERICA NATIONAL
              ASSOCIATION SUCCESSOR BY
              MERGER TO LASALLE BANK                                   THE STATUS HEARING ON THIS OBJECTION IS
              NATIONAL ASSOCIATION FKA                                 ADJOURNED TO December 17, 2013 at 2:00
    39                                           9050         12252
              LASALLE NATIONAL                                         p.m. WITH OPPOSITION DUE DECEMBER 10,
              ASSOCIATION FKA LASALLE                                  2013.
              NATIONAL (CAPMARK FINANCE
              INC)
              Berkadia Commercial
              Mortgage LLC (Bank of
                                                              12172    Status hearing on objection adjourned to
    39        America NA successor by            9051
                                                              12269    December 17, 2013 at 2:00 p.m.
              merger to LaSalle Bank NA
              fka LaSalle National Bank)
              Berkadia Commercial
              Mortgage LLC (Bank of                           12173
                                                                       Status hearing on objection adjourned to
    39        America NA successor by            9707         12238
                                                                       December 17, 2013 at 2:00 p.m.
              merger to LaSalle Bank NA                       12258
              fka LaSalle National Bank)
              Berkadia Commercial
              Mortgage LLC (Bank of
              America National
                                                              12157    Status hearing on objection adjourned to
    39        Association by merger to           9916
                                                              12249    December 17, 2013 at 2:00 p.m.
              LaSalle National Bank a
              Nationally Chartered Bank
              as Trustee for)




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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              BANK OF AMERICA NATIONAL
              ASSOCIATION SUCCESSSOR BY
              MERGER TO LASALLE BANK
              NATIOAL ASSOCIATION FKA                          12131    Status hearing on objection adjourned to
    39                                           12663
              LASALLE BANK NATIONAL                            12254    December 17, 2013 at 2:00 p.m.
              (CAPMARK FINANCE INC)
              (Berkadia Commercial
              Mortgage LLC)
              Berkadia Commercial                              12170
     39
              Mortgage LLC (WEC 96 D                           12234    Status hearing on objection adjourned to
 (Actually                                       12911
              Appleton 2 Investment                            12235    December 17, 2013 at 2:00 p.m.
 in 42/43)
              Trust)                                           12239
              BASILE LIMITED LIABILITY                                  THE STATUS HEARING ON THIS OBJECTION IS
              COMPANY CO MIDLAND LOAN                                   ADJOURNED TO December 17, 2013 at 2:00
    39                                           12692
              SERVICES INC A DELAWARE                                   p.m. WITH OPPOSITION DUE DECEMBER 10,
              CORPORATION                                               2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    39        BASSER KAUFMAN 222 LLC              8678
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    39        BASSER KAUFMAN 312 LLC             12507
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              BEAR VALLEY ROAD PARTNERS                                 ADJOURNED TO December 17, 2013 at 2:00
    39                                           12653
              LLC                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              BEAR VALLEY ROAD PARTNERS                                 ADJOURNED TO December 17, 2013 at 2:00
    39                                           12651
              LLC                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        BENENSON COLUMBUS OH TRUST        12163
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
              BERKSHIRE MANAGEMENT CORP
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              AGENT FOR BERKSHIRE HYANNIS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        LLC PREMISES LOCATED AT 624       10814
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              640 IYANOUGH ROAD
                                                                       2013.
              BARNSTABLE MA
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        BEV CON I LLC                      8786
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              BFLO WATERFORD ASSOCIATES                                ADJOURNED TO December 17, 2013 at 2:00
    39                                           9952
              LLC                                                      p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              BOND CIRCUIT I DELAWARE                                  ADJOURNED TO December 17, 2013 at 2:00
    39                                          13440
              BUSINESS TRUST                                           p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              BOND CIRCUIT IV DELAWARE                                 ADJOURNED TO December 17, 2013 at 2:00
    39                                          12765
              BUSINESS TRUST                                           p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              BOND CIRCUIT IV DELAWARE                                 ADJOURNED TO December 17, 2013 at 2:00
    39                                          15019
              TRUST                                                    p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              BOND CIRCUIT VI DELAWARE                                 ADJOURNED TO December 17, 2013 at 2:00
    39                                          13426
              BUSINESS TRUST                                           p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.

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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    39        BRANDYWINE GRANDE C LP             12168
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
              By-Pass Development Company                               Status hearing on objection adjourned to
    39                                            7888         12144
              LLC                                                       December 17, 2013 at 2:00 p.m.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CARDINAL CAPITAL PARTNERS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    39        INC & 680 S LEMON AVE CO           12169
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
              LLC
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    39        CAROLINA PAVILION COMPANY          12915
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
              Catellus Operating Limited                                Status hearing on objection adjourned to
    39                                           12328         12048
              Partnership                                               December 17, 2013 at 2:00 p.m.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CC 223 ANDOVER PARK EAST                                  ADJOURNED TO December 17, 2013 at 2:00
    39                                           12706
              TUKWILA LLC                                               p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                 12718
                                                 12721
                                                 12722
                                                 12725
                                                 14518                  Status hearing on objection adjourned to
    39        CC Acquisition, L.P.                             12056
                                                 14521                  December 17, 2013 at 2:00 p.m.
                                                 14522
                                                 14523
                                                 14574
                                                 14577
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    39        CC HAMBURG NY PARTNERS LLC         12818
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                          64
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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        CC INVESTORS 1996 14              11572
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        CC INVESTORS 1996 17               7162
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        CC INVESTORS 1996 9               11829
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        CC INVESTORS 1997 11               9955
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
              CC MADISON PJR LLC, CC                                   THE STATUS HEARING ON THIS OBJECTION IS
              MADISON EJR LLC, CC MADISON                              ADJOURNED TO December 17, 2013 at 2:00
    39                                           9416
              TFR LLC & CC MADISON JLR                                 p.m. WITH OPPOSITION DUE DECEMBER 10,
              LLC                                                      2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        CC ROSEVILLE LLC                   9417
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                              12479
    39        CCMS 2005 CD1 HALE ROAD LLC       12937                  ADJOURNED TO December 17, 2013 at 2:00
                                                              12489
                                                                       p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENCOR REALTY SERVICES INC
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        AGENT FOR SWQ 35 FORUM LTD        12541
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              LOCATED IN SAN ANTONIO TX
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
    39        CENTRAL INVESTMENTS, LLC          12116         12484    ADJOURNED TO December 17, 2013 at 2:00
                                                                       p.m.
                                                         65
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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A                              ADJOURNED TO December 17, 2013 at 2:00
    39                                          12677
              COASTAL WAY BROOKSVILLE FL                               p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        COMMONS AT CHANCELLOR              8096
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              CHARLOTTE NC
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        NORTHRIDGE PLAZA MILWAUKEE         8487
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              WI
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        PENSACOLA SQUARE PENSACOLA        12625
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              FL
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A                              ADJOURNED TO December 17, 2013 at 2:00
    39                                           8488
              SHARPSTOWN PLAZA HOUSTON TX                              p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A                              ADJOURNED TO December 17, 2013 at 2:00
    39                                          12678
              SUN PLAZA WALTON BEACH FL                                p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A                              ADJOURNED TO December 17, 2013 at 2:00
    39                                           8490
              VENTURE POINT DULUTH GA                                  p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        BAKERSFIELD COMMONS               12555
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              BAKERSFIELD CA
                                                                       2013.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A                              ADJOURNED TO December 17, 2013 at 2:00
    39                                          12616
              BAYBROOK GATEWAY WEBSTER TX                              p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        CHAMBERLAIN PLAZA MERIDEN         12538
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              CT
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        CONYERS CROSSROADS CONYERS         8093
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              GA
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        DICKSON CITY CROSSING             12528
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              DICKSON CITY PA
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        ESPLANADE SHOPPING CENTER         12639
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              OXNARD CA
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        FRESHWATER STATELINE PLAZA        12628
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              ENFIELD CT
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        HERITAGE SQUARE NAPERVILLE        12637
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              IL
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A                              ADJOURNED TO December 17, 2013 at 2:00
    39                                          12582
              INNES MARKET SALISBURY NC                                p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A                              ADJOURNED TO December 17, 2013 at 2:00
    39                                          12560
              MEMPHIS COMMONS MEMPHIS TN                               p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        MIDWAY MARKET SQUARE ELYRIA       12531
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              OH
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        MONTEBELLO PLAZA MONTEBELLO       12638
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              CA
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        NORTHRIDGE PLAZA WILWAUKEE        12626
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              WI
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        SPRINGBROOK PLAZA CLANTON         12618
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              OH
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        UNIVERSITY COMMONS                12558
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              GREENVILLE NC
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A                              ADJOURNED TO December 17, 2013 at 2:00
    39                                           1604
              VALLEY CROSSING HICKORY NC                               p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CENTRO PROPERTIES GROUP T A
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    39        WESTMINSTER CITY CENTER           12542
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              WESTMINSTER CO
                                                                       2013.
              Century Plaza Development         11238                  Status hearing on objection adjourned to
    39                                                        12078
              Corporation                       11669                  December 17, 2013 at 2:00 p.m.
                                                         68
                  Case 08-35653-KRH    Doc 13149-2 Filed 10/22/13 Entered 10/22/13 20:48:40   Desc
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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CGCMT 2006 C5 GLENWAY                            12481
    39                                           12981                  ADJOURNED TO December 17, 2013 at 2:00
              AVENUE LLC                                       12490
                                                                        p.m.
     39
              National Western Life                                     Status hearing on objection adjourned to
 (Actually                                        8136         12121
              Insurance Company                                         December 17, 2013 at 2:00 p.m.
   in 41)

                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    40        CHINO SOUTH RETAIL PG LLC           8990
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        This matter has been settled pursuant to
                                                                        procedures previously approved by this
    40        CIRCUIT IL CORP                     5027
                                                                        Court, and the matter may be removed from
                                                                        the Court’s docket.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CIRCUIT INVESTORS FAIRFIELD                               ADJOURNED TO December 17, 2013 at 2:00
    40                                           14548
              LIMITED PARTNERSHIP                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CIRCUIT INVESTORS NO 2 LTD                                ADJOURNED TO December 17, 2013 at 2:00
    40                                            9037
              A TEXAS PARTNERSHIP                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CIRCUIT INVESTORS NO 4
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    40        THOUSAND OAKS LIMITED               8163
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
              PARTNERSHIP
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CIRCUIT INVESTORS VERNON                                  ADJOURNED TO December 17, 2013 at 2:00
    40                                            7155
              HILLS LIMITED PARTNERSHIP                                 p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.



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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CIRCUIT INVESTORS YORKTOWN                               ADJOURNED TO December 17, 2013 at 2:00
    40                                          12338
              LIMITED PARTNERSHIP                                      p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    40        CIRCUIT SPORTS LP                 13411
                                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CK RICHMOND BUSINESS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    40        SERVICES NO 2 LIMITED              8151
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              LIABILITY COMPANY
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    40        CLF TRUST                         15243
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    40        CLF TRUST                         15245
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CMAT 1999 C1 GRAND RIVER                        12461
    40                                           5002                  ADJOURNED TO December 17, 2013 at 2:00
              AVENUE LLC                                      12487
                                                                       p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                              12476
    40        CMAT 1999 C1 KELLY ROAD LLC        5005                  ADJOURNED TO December 17, 2013 at 2:00
                                                              12496
                                                                       p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CMAT 1999 C2 BUSTLETON                          12480
    40                                          12078                  ADJOURNED TO December 17, 2013 at 2:00
              AVENUE LIMITED PARTNERSHIP                      12493
                                                                       p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CMAT 1999 C2 EMPORIUM DRIVE                     12474
    40                                           4991                  ADJOURNED TO December 17, 2013 at 2:00
              LLC                                             12498
                                                                       p.m.


                                                         70
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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CMAT 1999 C2 IDLE HOUR ROAD                      12475
    40                                           12167                  ADJOURNED TO December 17, 2013 at 2:00
              LLC                                              12497
                                                                        p.m.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CMAT 1999 C2 LAWRENCE ROAD                       12473
    40                                           12077                  ADJOURNED TO December 17, 2013 at 2:00
              LLC                                              12499
                                                                        p.m.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CMAT 1999 C2 MOLLER ROAD                                  ADJOURNED TO December 17, 2013 at 2:00
    40                                            4994         12500
              LLC                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CMAT 1999 C2 RIDGELAND                           12466
    40                                           11958                  ADJOURNED TO December 17, 2013 at 2:00
              RETAIL LLC                                       12503
                                                                        p.m.
              Coldwater Development                                     Status hearing on objection adjourned to
    40                                            7593         12118
              Company, LLC                                              December 17, 2013 at 2:00 p.m.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    40        COLONIAL SQUARE ASSOCIATES         12468
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    40        CP NORD DU LAC JV LLC               9641
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                 11517
                                                (7816 –
              Craig-Clarksville Tennessee       listed in               Status hearing on objection adjourned to
    40                                           response      12114
              LLC                                                       December 17, 2013 at 2:00 p.m.
                                                  but not
                                               subject to
                                               Objection)
              Crown CCI, LLC
                                                               12086
              (Filed on behalf of WBCMT                                 Status hearing on objection adjourned to
    40                                           12356         12460
              2005-C21 South Ocean Gate                                 December 17, 2013 at 2:00 p.m.
                                                               12507
              Avenue Limited Partnership)

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    40        CTL TRUST                         15244
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
              CW INVESTORS 1997 12 BY ITS
              RECEIVER CW CAPITAL ASSET
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              MANAGEMENT LLC AS SPECIAL
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    40        SERVICER FOR BANK OF              12631
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              AMERICA NA TRUSTEE FOR
                                                                       2013.
              NOMURA ASSET SECURITIES
              CORPORATION
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CWCAPITAL ASSET MANAGEMENT
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    40        LLC AS SPECIAL SERVICER FOR       12832
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              BANK OF AMERICA N A
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CWCAPITAL ASSET MANAGEMENT
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    40        LLC AS SPECIAL SERVICER FOR       12846
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              BANK OF AMERICA N A
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              CWCAPITAL ASSET MANAGEMENT
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    40        LLC AS SPECIAL SERVICER FOR       12728
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              BANK OF AMERICA N A
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    40        DANIEL G KAMIN FLINT LLC          11573
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              DMARC 2006 CD2 DAVIDSON                         12470
    40                                          13076                  ADJOURNED TO December 17, 2013 at 2:00
              PLACE, LLC                                      12508
                                                                       p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              DMARC 2006 CD2 POUGHKEEPSIE                     12477
    40                                          12417                  ADJOURNED TO December 17, 2013 at 2:00
              LLC                                             12495
                                                                       p.m.

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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              DREXEL DELAWARE TRUST C O
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    40        MIDLAND LOAN SERVICES INC A       12647
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              DELAWARE CORPORATION
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    40        EAGLERIDGE ASSOCIATES             12769
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    40        EAGLERIDGE ASSOCIATES             12825
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                12687                  Status hearing on objection adjourned to
    40        Eel McKee LLC                                   12041
                                                12849                  December 17, 2013 at 2:00 p.m.
                                                                       This matter has been settled pursuant to
              FAIRWAY CENTRE ASSOCIATES                                procedures previously approved by this
    40                                          12810
              LP                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    40        FC TREECO COLUMBIA PARK LLC       12802
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
              FEDERAL REALTY INVESTMENT                                THE STATUS HEARING ON THIS OBJECTION IS
              TRUST TA QUINCE ORCHARD                                  ADJOURNED TO December 17, 2013 at 2:00
    40                                          12545
              SHOPPING CENTER                                          p.m. WITH OPPOSITION DUE DECEMBER 10,
              GAITHERSBURG MD                                          2013.
              FEDERAL REALTY INVESTMENT                                THE STATUS HEARING ON THIS OBJECTION IS
              TRUST TA TROY HILLS                                      ADJOURNED TO December 17, 2013 at 2:00
    40                                          12085
              SHOPPING CENTER PARSIPPANY                               p.m. WITH OPPOSITION DUE DECEMBER 10,
              NJ                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              FIRST BERKSHIRE PROPERTIES                               ADJOURNED TO December 17, 2013 at 2:00
    40                                          13441
              LLC                                                      p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                         73
                  Case 08-35653-KRH   Doc 13149-2 Filed 10/22/13 Entered 10/22/13 20:48:40   Desc
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    40        FW CA BREA MARKETPLACE LLC        12796
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       STATUS HEARING ON THIS OBJECTION IS
              GCCFC 2007 GG9 ABERCORN                         12459
    40                                          15253                  ADJOURNED TO December 17, 2013 at 2:00
              STREET LIMITED PARTNERSHIP                      12488
                                                                       p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              GECMC 2005 C2 EASTEX FWY                        12469
    40                                           8667                  ADJOURNED TO December 17, 2013 at 2:00
              LLC                                             12502
                                                                       p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              GECMC 2005 C2 HICKORY                           12471
    40                                          12186                  ADJOURNED TO December 17, 2013 at 2:00
              HOLLOW LLC                                      12501
                                                                       p.m.
              GECMC 2005 C2 MALL ROAD LLC                              THE STATUS HEARING ON THIS OBJECTION IS
                                                              12467
    40        (Filed on behalf of GECMC         12179                  ADJOURNED TO December 17, 2013 at 2:00
                                                              12504
              2005-C2 Ludwig Drive, LLC)                               p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                              12465
    40        GECMC 2005 C2 MALL ROAD LLC       12267                  ADJOURNED TO December 17, 2013 at 2:00
                                                              12505
                                                                       p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              GECMC 2005 C2 SOUTH                             12464
    40                                          12180                  ADJOURNED TO December 17, 2013 at 2:00
              LINDBERGH LLC                                   12494
                                                                       p.m.
              Generation H One and Two                                 Status hearing on objection adjourned to
    40                                          12537         12047
              Limited Partnership                                      December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    40        Giant Eagle, Inc.                 13017         12021
                                                                       December 17, 2013 at 2:00 p.m.
              Glenmoor Limited                                         Status hearing on objection adjourned to
    40                                          12387         12058
              Partnership                                              December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    40        Gould Livermore, LLC              12266                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.



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   Trust                                         Claim        Docket
              Respondent                                                                  Status
  Omnibus                                       Number        Number
 Objection
                                                                         THE STATUS HEARING ON THIS OBJECTION IS
                                                                         ADJOURNED TO December 17, 2013 at 2:00
    40        GREECE RIDGE LLC                  12622
                                                                         p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                         2013.
                                                              12155
                                                              12185
                                                              (amended   Status hearing on objection adjourned to
    40        Green 521 5th Avenue LLC          12492            to
                                                              correct
                                                                         December 17, 2013 at 2:00 p.m.
                                                              missing
                                                              number)
                                                                         THE STATUS HEARING ON THIS OBJECTION IS
                                                                         ADJOURNED TO December 17, 2013 at 2:00
    40        GREEN ACRES MALL LLC              12701
                                                                         p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                         2013.
                                                                         This matter has been settled pursuant to
                                                                         procedures previously approved by this
    40        Hayden Meadows JV                 13907
                                                                         Court, and the matter may be removed from
                                                                         the Court’s docket.
              Inland American Chesapeake                                 Status hearing on objection adjourned to
    40                                          12720         12102
              Crossroads LLC                                             December 17, 2013 at 2:00 p.m.
              Inland American Oklahoma                                   Status hearing on objection adjourned to
    40                                          12092         12102
              City Penn LLC                                              December 17, 2013 at 2:00 p.m.
                                                                         Status hearing on objection adjourned to
    40        Inland Southeast Darien           10024         12102
                                                                         December 17, 2013 at 2:00 p.m.
                                                                         Status hearing on objection adjourned to
    40        Inland Traverse City LLC           9719         12102
                                                                         December 17, 2013 at 2:00 p.m.
              Inland Western Austin
                                                                         Status hearing on objection adjourned to
    40        Southpark Meadows II              12830         12102
                                                                         December 17, 2013 at 2:00 p.m.
              Limited Partnership
              Inland Western Avondale            8943                    Status hearing on objection adjourned to
    40                                                        12102
              McDowell LLC                       9725                    December 17, 2013 at 2:00 p.m.
              Inland Western Cedar Hill
                                                                         Status hearing on objection adjourned to
    40        Pleasant Run Limited              12644         12102
                                                                         December 17, 2013 at 2:00 p.m.
              Partnership
                                                         75
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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Inland Western College
                                                                       Status hearing on objection adjourned to
    40        Station Gateway Limited           12082         12102
                                                                       December 17, 2013 at 2:00 p.m.
              Partnership
              Inland Western Columbus                                  Status hearing on objection adjourned to
    40                                          12642         12102
              Clifty, LLC                                              December 17, 2013 at 2:00 p.m.
              Inland Western Houma                                     Status hearing on objection adjourned to
    40                                          12643         12102
              Magnolia LLC                                             December 17, 2013 at 2:00 p.m.
              Inland Western Lake Worth
                                                                       Status hearing on objection adjourned to
    40        Towne Crossing Limited            12829         12102
                                                                       December 17, 2013 at 2:00 p.m.
              Partnership
              Inland Western Lewisville
                                                                       Status hearing on objection adjourned to
    40        Lakepointe Limited                12645         12102
                                                                       December 17, 2013 at 2:00 p.m.
              Partnership
              Inland Western Oswego Gerry                              Status hearing on objection adjourned to
    40                                           9722         12102
              Centennial LLC                                           December 17, 2013 at 2:00 p.m.
              Inland Western Phillipsburg                              Status hearing on objection adjourned to
    40                                          12742         12102
              Greenwich LLC                                            December 17, 2013 at 2:00 p.m.
              Inland Western Richmond                                  Status hearing on objection adjourned to
    40                                          13083         12102
              Maryland LLC                                             December 17, 2013 at 2:00 p.m.
              Inland Western San Antonio                               Status hearing on objection adjourned to
    40                                          12646         12102
              HQ Limited Partnership                                   December 17, 2013 at 2:00 p.m.
              Inland Western Southlake                                 Status hearing on objection adjourned to
    40                                          12828         12102
              Corners Limited Partnership                              December 17, 2013 at 2:00 p.m.
              Inland Western Sugar Land                                Status hearing on objection adjourned to
    40                                          12831         12102
              Colony Limited Partnership                               December 17, 2013 at 2:00 p.m.
              Inland Western Temecula                                  Status hearing on objection adjourned to
    40                                          12803         12102
              Commons LLC                                              December 17, 2013 at 2:00 p.m.
              Inland Western West Mifflin                              Status hearing on objection adjourned to
    40                                          12640         12102
              Century III, L.P.                                        December 17, 2013 at 2:00 p.m.
              IN Retail Fund Algonquin                                 Status hearing on objection adjourned to
    40                                          12827         12102
              Commons, LLC                                             December 17, 2013 at 2:00 p.m.
              Memorial Square 1031,                                    Status hearing on objection adjourned to
    40                                          12079         12102
              L.L.C.                                                   December 17, 2013 at 2:00 p.m.

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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        This matter has been settled pursuant to
              International Speedway                                    procedures previously approved by this
    41                                           12760         12095
              Square, Ltd.                                              Court, and the matter may be removed from
                                                                        the Court’s docket.
                                                                        This matter has been settled pursuant to
                                                                        procedures previously approved by this
    41        JANAF SHOPS LLC                    14511
                                                                        Court, and the matter may be removed from
                                                                        the Court’s docket.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              JAREN ASSOCIATES NO 4
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    41        MACERICH SCOTTSDALE STORE          13927
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
              NO 3341
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              JEFFERSON MALL COMPANY II                                 ADJOURNED TO December 17, 2013 at 2:00
    41                                           14477
              LLC                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        Status hearing on objection adjourned to
    41        Johnson City Crossing, L.P.        12564         12111
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
    41        Jubilee-Springdale, LLC            12771         12087
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        Status hearing on objection adjourned to
    41        KC Benjamin Realty, LLC             7891         12120
                                                                        December 17, 2013 at 2:00 p.m.
              KEY BANK NA AS MASTER                                     THE STATUS HEARING ON THIS OBJECTION IS
              SERVICER AND ORIX CAPITAL                                 ADJOURNED TO December 17, 2013 at 2:00
    41                                           12420
              MARKETS LLC AS SPECIAL                                    p.m. WITH OPPOSITION DUE DECEMBER 10,
              SERVICER                                                  2013.
              KEY BANK NA AS MASTER                                     THE STATUS HEARING ON THIS OBJECTION IS
              SERVICER AND ORIX CAPITAL                                 ADJOURNED TO December 17, 2013 at 2:00
    41                                           12423
              MARKETS LLC AS SPECIAL                                    p.m. WITH OPPOSITION DUE DECEMBER 10,
              SERVICER                                                  2013.




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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              KEYBANK NA AS MASTER
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              SERVICER AND ORIX CAPITAL
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        MARKETS LLC AS SPECIAL            12399
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              SERVICER ON BEHALF OF BANK
                                                                       2013.
              OF AMERICA NA
              KEYBANK NA AS MASTER
              SERVICER AND ORIX CAPITAL
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              MARKETS LLC AS SPECIAL
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        SERVICER ON BEHALF OF BANK        12161
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              OF AMERICA NA MERGER TO
                                                                       2013.
              LASALLE BANK NA AS TRUSTEE
              FOR
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    41        Kite Coral Springs, LLC           12873         12096
                                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.
              KRG Market Street Village,                               Status hearing on objection adjourned to
    41                                          12707         12093
              LP                                                       December 17, 2013 at 2:00 p.m.
              Magna Trust Company,                                     Status hearing on objection adjourned to
    41                                          12673         12113
              Trustee                                                  December 17, 2013 at 2:00 p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        MAIN STREET AT EXTON LP           12421
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        MALL DEL NORTE LLC                14006
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
              Mallview Plaza Company,                                  Status hearing on objection adjourned to
    41                                           6964         12098
              Ltd.                                                     December 17, 2013 at 2:00 p.m.
                                                                       This matter has been settled pursuant to
              MANUFACTURERS & TRADERS                                  procedures previously approved by this
    41                                           8611
              TRUST COMPANY AS TRUSTEE                                 Court, and the matter may be removed from
                                                                       the Court’s docket.
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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              MANUFACTURERS & TRADERS                                  ADJOURNED TO December 17, 2013 at 2:00
    41                                           8622
              TRUST COMPANY AS TRUSTEE                                 p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              MANUFACTURERS & TRADERS                                  ADJOURNED TO December 17, 2013 at 2:00
    41                                           8613
              TRUST COMPANY AS TRUSTEE                                 p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       This matter has been settled pursuant to
              MANUFACTURERS & TRADERS                                  procedures previously approved by this
    41                                           8564
              TRUST COMPANY AS TRUSTEE                                 Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              MANUFACTURERS & TRADERS                                  ADJOURNED TO December 17, 2013 at 2:00
    41                                           8561
              TRUST COMPANY AS TRUSTEE                                 p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       This matter has been settled pursuant to
              MANUFACTURERS & TRADERS                                  procedures previously approved by this
    41                                           8620
              TRUST COMPANY AS TRUSTEE                                 Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              MANUFACTURERS & TRADERS                                  ADJOURNED TO December 17, 2013 at 2:00
    41                                          12053
              TRUST COMPANY AS TRUSTEE                                 p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        MARLTON VF LLC                    11990
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
              MB Fabyan Randall Plaza                                  Status hearing on objection adjourned to
    41                                          10023         12097
              Batavia, L.L.C.                                          December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    41        MB Keene Monadnock, L.L.C.        12744         12097
                                                                       December 17, 2013 at 2:00 p.m.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        MIDLAND LOAN SERVICES INC         12258
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        MIDLAND LOAN SERVICES INC          8362
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        MIDLAND LOAN SERVICES INC         12311
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
              Morgan Hill Retail Venture,                              Status hearing on objection adjourned to
    41                                          10265         12110
              LP                                                       December 17, 2013 at 2:00 p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              MORRIS BETHLEHEM ASSOCIATES
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        LP TA SOUTHMONT CENTER            12090
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              BETHLEHEM PA
                                                                       2013.
              National Western Life                                    Status hearing on objection adjourned to
    41                                           8136         12121
              Insurance Company                                        December 17, 2013 at 2:00 p.m.
              National Western Life                                    Status hearing on objection adjourned to
    41                                           7951         12123
              Insurance Company                                        December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
    41        New River Properties, LLC         12418         12066
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              NORTH PLAINFIELD VF LLC C O                              ADJOURNED TO December 17, 2013 at 2:00
    41                                           8723
              VORNADO REALTY TRUST                                     p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        NORTHGLENN RETAIL LLC              8978
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.


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                  Case 08-35653-KRH   Doc 13149-2 Filed 10/22/13 Entered 10/22/13 20:48:40   Desc
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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        ORIX CAPITAL MARKETS LLC          12495
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       Status hearing on objection adjourned to
    41        Pan Am Equities Inc.               7999         12077
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        PARK NATIONAL BANK                 8618
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        PARK NATIONAL BANK                11752
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        PARK NATIONAL BANK                 8079
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    41        PARK NATIONAL BANK                12615
                                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        PARK NATIONAL BANK                11749
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    41        PARK NATIONAL BANK                11750
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.




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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              PARK NATIONAL BANK AS
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              ASSIGNEE OF RENTS UNDER
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    41        HENRICO COUNTY VIRGINIA             9009
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
              DEED OF LEASE WITH CK
                                                                        2013.
              RICHMOND BUSINESS
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    41        PEMBROKE CROSSING LTD              12704
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    41        RAYMOND & MAIN RETAIL LLC           8988
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    41        RAYMOND & MAIN RETAIL LLC           8985
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    41        RC CA   SANTA BARBARA LLC          12797
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    41        REGENCY CENTERS LP                 12794
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
              Rio Associates Limited                                    Status hearing on objection adjourned to
    41                                            7828         12101
              Partnership                                               December 17, 2013 at 2:00 p.m.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              RONALD BENDERSON RANDALL
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    41        BENDERSON AND DAVID H               9951
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
              BALDAUF
                                                                        2013.



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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    41        RONALD BENDERSON TRUST 1995        12469
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        Status hearing on objection adjourned to
    41        Ronus Meyerland Plaza L.P.         12424         12109
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              RREEF AMERICA REIT II CORP                                ADJOURNED TO December 17, 2013 at 2:00
    41                                           14104
              CROSSROADS                                                p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    41        SAFEWAY INC                         8635
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    41        SAUGUS PLAZA ASSOCIATES            12510
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    41        SAUGUS PLAZA ASSOCIATES            14704
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        Status hearing on objection adjourned to
    41        Save Mart Supermarkets             12353         12069
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        This matter has been settled pursuant to
              SAWMILL PLAZA PLACE                                       procedures previously approved by this
    41                                           12751
              ASSOCIATES                                                Court, and the matter may be removed from
                                                                        the Court’s docket.
     41
              The Shoppes of Beavercreek                                Status hearing on objection adjourned to
 (Actually                                       12770         12091
              Ltd.                                                      December 17, 2013 at 2:00 p.m.
   in 42)



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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        700 JEFFERSON ROAD II LLC         13445
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
              American National Insurance                              Status hearing on objection adjourned to
    42                                           5559         12124
              Company (Southwinds Ltd.)                                December 17, 2013 at 2:00 p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              BENDERSON PROPERTIES INC                                 ADJOURNED TO December 17, 2013 at 2:00
    42                                          12465
              AND DONALD E ROBINSON                                    p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
              Berkadia Commercial
              Mortgage LLC (Wells Fargo
              Bank NA successor by merger
                                                              12133    Status hearing on objection adjourned to
    42        to Wells Fargo Bank                  0
                                                              12243    December 17, 2013 at 2:00 p.m.
              Minnesota NA fka Norwest
              Bank Minnesota NA as
              Trustee)
              Berkadia Commercial
              Mortgage LLC (Wells Fargo
              Bank NA successor by merger
                                                              12134    Status hearing on objection adjourned to
    42        to Wells Fargo Bank                9452
                                                              12244    December 17, 2013 at 2:00 p.m.
              Minnesota NA fka Norwest
              Bank Minnesota NA as
              Trustee)
              Berkadia Commercial
              Mortgage LLC (Wells Fargo
              Bank NA successor by merger
                                                              12136    Status hearing on objection adjourned to
    42        to Wells Fargo Bank                9441
                                                              12245    December 17, 2013 at 2:00 p.m.
              Minnesota NA fka Norwest
              Bank Minnesota NA as
              Trustee)




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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Berkadia Commercial
              Mortgage LLC (Wells Fargo
              Bank NA successor by merger
                                                              12138    Status hearing on objection adjourned to
    42        to Wells Fargo Bank                9444
                                                              12246    December 17, 2013 at 2:00 p.m.
              Minnesota NA fka Norwest
              Bank Minnesota NA as
              Trustee)
              Berkadia Commercial
              Mortgage LLC (Wells Fargo
              Bank NA successor by merger
                                                              12146    Status hearing on objection adjourned to
    42        to Wells Fargo Bank                9741
                                                              12247    December 17, 2013 at 2:00 p.m.
              Minnesota NA fka Norwest
              Bank Minnesota NA as
              Trustee)
              Berkadia Commercial
              Mortgage LLC (Wells Fargo
              Bank NA successor by merger
                                                              12161    Status hearing on objection adjourned to
    42        to Wells Fargo Bank                9438
                                                              12241    December 17, 2013 at 2:00 p.m.
              Minnesota NA fka Norwest
              Bank Minnesota NA as
              Trustee)
              Berkadia Commercial
              Mortgage LLC (Wells Fargo
              Bank NA successor by merger
                                                              12162    Status hearing on objection adjourned to
    42        to Wells Fargo Bank               10034
                                                              12242    December 17, 2013 at 2:00 p.m.
              Minnesota NA fka Norwest
              Bank Minnesota NA as
              Trustee)
              Berkadia Commercial                             12170
              Mortgage LLC (WEC 96 D                          12234    Status hearing on objection adjourned to
    42                                          12911
              Appleton 2 Investment                           12235    December 17, 2013 at 2:00 p.m.
              Trust)                                          12239


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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              BERKSHIRE MANAGEMENT CORP                                THE STATUS HEARING ON THIS OBJECTION IS
              AGENT FOR BERKSHIRE AMHERST                              ADJOURNED TO December 17, 2013 at 2:00
    42                                          12089
              LLC TA AMHERST CROSSING                                  p.m. WITH OPPOSITION DUE DECEMBER 10,
              AMHERST NH                                               2013.
              Buzz Oates, LLC (taken over
                                                                       Status hearing on objection adjourned to
    42        from The Marvin L. Oates           7024         12065
                                                                       December 17, 2013 at 2:00 p.m.
              Trust)
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              DDR MDT FAIRFAX TOWN CENTER                              ADJOURNED TO December 17, 2013 at 2:00
    42                                          13462
              LLC                                                      p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        DDR NORTE LLC                     12840
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
              Inland Mortgage Capital
                                                                       Status hearing on objection adjourned to
    42        Corporation (Team Retail           8939         12100
                                                                       December 17, 2013 at 2:00 p.m.
              Westbank, Ltd.)
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              SHOPPES AT RIVER CROSSING                                ADJOURNED TO December 17, 2013 at 2:00
    42                                          11782
              LLC                                                      p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              SOUTHAVEN TOWNE CENTER II                                ADJOURNED TO December 17, 2013 at 2:00
    42                                          12193
              LLC                                                      p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
              STARPOINT PROPERTIES LLC
              C/O LNR PARTNERS LLC                                     THE STATUS HEARING ON THIS OBJECTION IS
                                                              12462
    42        (filed on behalf of CSFB          12855                  ADJOURNED TO December 17, 2013 at 2:00
                                                              12510
              2005-C1 Shoppes of                                       p.m.
              Plantation Acres, LLC)



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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    42        Station Landing LLC                2901         12122
                                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              SVSC II LP C O MIDLAND LOAN
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        SERVICES INC A DELAWARE           12684
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              CORPORATION
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        TEAM RETAIL WESTBANK LTD           8939
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
              THE CITY PORTFOLIO LLC, ET
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              AL. RED MOUNTAIN AS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        SUCCESSOR IN INTEREST TO T        11000
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              C/O CONTRARIAN CAPITAL
                                                                       2013.
              MANAGEMENT, L.L.C.
              THE HUTENSKY GROUP LLC                                   THE STATUS HEARING ON THIS OBJECTION IS
              AGENT FOR HRI LUTHERVILLE                                ADJOURNED TO December 17, 2013 at 2:00
    42                                           1897
              STATION LLC TA LUTHERVILLE                               p.m. WITH OPPOSITION DUE DECEMBER 10,
              STATION LUTHERVILLE MD                                   2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              THE RANDALL BENDERSON 1993
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        1 TRUST AND WR 1 ASSOCIATES       12472
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              LTD
                                                                       2013.
              The Shoppes of Beavercreek                               Status hearing on objection adjourned to
    42                                          12770         12091
              Ltd.                                                     December 17, 2013 at 2:00 p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              THE VILLAGE AT RIVERGATE                                 ADJOURNED TO December 17, 2013 at 2:00
    42                                          14476
              LIMITED PARTNERSHIP                                      p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.



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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        TOWSON VF LLC                     12699
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        TUTWILER PROPERTIES LTD           12159
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              TYSONS CORNER HOLDINGS LLC
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        MACERICH TYSONS CORNER             9537
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              SUPERSTORE
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UBS REALTY INVESTORS LLC
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        AGENT FOR HAPPY VALLEY TOWN        8107
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              CENTER PHOENIX AZ
                                                                       2013.
              UBS REALTY INVESTORS LLC                                 THE STATUS HEARING ON THIS OBJECTION IS
              AGENT FOR WAYSIDE COMMONS                                ADJOURNED TO December 17, 2013 at 2:00
    42                                           1898
              INVESTORS LLC TA WAYSIDE                                 p.m. WITH OPPOSITION DUE DECEMBER 10,
              COMMONS BURLINGTON MA                                    2013.
                                                                       This matter has been settled pursuant to
              UNITED STATES DEBT RECOVERY                              procedures previously approved by this
    42                                           5809
              V LP                                                     Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UNITED STATES DEBT RECOVERY                              ADJOURNED TO December 17, 2013 at 2:00
    42                                          12735
              V LP                                                     p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UNITED STATES DEBT RECOVERY                              ADJOURNED TO December 17, 2013 at 2:00
    42                                          14519
              V LP                                                     p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       This matter has been settled pursuant to
              UNITED STATES DEBT RECOVERY                              procedures previously approved by this
    42                                          12819
              V LP                                                     Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UNITED STATES DEBT RECOVERY                              ADJOURNED TO December 17, 2013 at 2:00
    42                                          12588
              V LP                                                     p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UNITED STATES DEBT RECOVERY                              ADJOURNED TO December 17, 2013 at 2:00
    42                                          12589
              V LP                                                     p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UNITED STATES DEBT RECOVERY                              ADJOURNED TO December 17, 2013 at 2:00
    42                                           8614
              V LP                                                     p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UNITED STATES DEBT RECOVERY                              ADJOURNED TO December 17, 2013 at 2:00
    42                                          14520
              V LP                                                     p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UNITED STATES DEBT RECOVERY
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        V LP ASSIGNEE OF CC               15116
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              PROPERTIES LLC
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UNITED STATES DEBT RECOVERY
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        V LP ASSIGNEE OF CC               15115
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              PROPERTIES LLC
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UNITED STATES DEBT RECOVERY
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        V LP ASSIGNEE OF CC               15117
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              PROPERTIES LLC
                                                                       2013.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UNITED STATES DEBT RECOVERY
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        V LP ASSIGNEE OF CC               15113
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              PROPERTIES LLC
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UNITED STATES DEBT RECOVERY
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        V LP ASSIGNEE OF CC               15112
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              PROPERTIES LLC
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UNITED STATES DEBT RECOVERY
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        V LP ASSIGNEE OF CC               15110
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              PROPERTIES LLC
                                                                       2013.
                                                                       This matter has been settled pursuant to
              UNITED STATES DEBT RECOVERY
                                                                       procedures previously approved by this
    42        V LP ASSIGNEE OF ENID TWO         15118
                                                                       Court, and the matter may be removed from
              LLC
                                                                       the Court’s docket.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UNITED STATES DEBT RECOVERY                              ADJOURNED TO December 17, 2013 at 2:00
    42                                          15111
              V LP ASSIGNEE OF FRO LLC IX                              p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              UNITED STATES DEBT RECOVERY
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        V LP ASSIGNEE OF JOHNSTOWN        15099
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              SHOPPING CENTER LLC
                                                                       2013.
              UNIWEST MANAGEMENT SERVICES
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              INC OWNER OR AGENT FOR
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        BATTLEFIELD FE LIMITED            12992
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              PARTNERS T A FORT EVANS
                                                                       2013.
              PLAZA II LEESBURG
              US BANK NATIONAL                                         THE STATUS HEARING ON THIS OBJECTION IS
              ASSOCIATION AS PURCHASER OF                              ADJOURNED TO December 17, 2013 at 2:00
    42                                          14798
              ASSETS OF PARK NATIONAL                                  p.m. WITH OPPOSITION DUE DECEMBER 10,
              BANK                                                     2013.

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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              US BANK NATIONAL                                         THE STATUS HEARING ON THIS OBJECTION IS
              ASSOCIATION AS PURCHASER OF                              ADJOURNED TO December 17, 2013 at 2:00
    42                                          14796
              ASSETS OF PARK NATIONAL                                  p.m. WITH OPPOSITION DUE DECEMBER 10,
              BANK                                                     2013.
              US BANK NATIONAL                                         THE STATUS HEARING ON THIS OBJECTION IS
              ASSOCIATION AS PURCHASER OF                              ADJOURNED TO December 17, 2013 at 2:00
    42                                          14802
              ASSETS OF PARK NATIONAL                                  p.m. WITH OPPOSITION DUE DECEMBER 10,
              BANK                                                     2013.
              US BANK NATIONAL                                         THE STATUS HEARING ON THIS OBJECTION IS
              ASSOCIATION AS PURCHASER OF                              ADJOURNED TO December 17, 2013 at 2:00
    42                                          14797
              ASSETS OF PARK NATIONAL                                  p.m. WITH OPPOSITION DUE DECEMBER 10,
              BANK                                                     2013.
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    42        VENTURA IN MANHATTAN INC           9746
                                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              VICTORIA ESTATES LTD
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        MAGPOND LLC MAGPOND A LLC          9953
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              AND MAGPOND B LLC
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        VNO MUNDY STREET LLC              12705
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              VNO TRU DALE MABRY LLC C/O                               ADJOURNED TO December 17, 2013 at 2:00
    42                                          12629
              VORNADO REALTY TRUST                                     p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        VORNADO GUN HILL ROAD LLC          8496
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.


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                  Case 08-35653-KRH   Doc 13149-2 Filed 10/22/13 Entered 10/22/13 20:48:40   Desc
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              VORNADO NORTH BERGEN                                     ADJOURNED TO December 17, 2013 at 2:00
    42                                           8489
              TONNELLE PLAZA LLC                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              WALTON HANOVER INVESTORS V                               ADJOURNED TO December 17, 2013 at 2:00
    42                                          12665
              LLC                                                      p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        WAYNE VF LLC                      12703
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                13480                  Status hearing on objection adjourned to
    42        WCC Properties LLC                              12107
                                                15261                  December 17, 2013 at 2:00 p.m.
                                                              12176
              WEC 96 D APPLETON 2                             12234    Status hearing on objection adjourned to
    42                                          12911
              INVESTMENT TRUST                                12235    December 17, 2013 at 2:00 p.m.
                                                              12239
              WEC 96D Niles Investment                                 Status hearing on objection adjourned to
    42                                           9647         12089
              Trust                                                    December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
                                                                       December 17, 2013 at 2:00 p.m.(WEC 96D
                                                              12174
              WEC 96D SPRINGFIELD 1                                    Springfield 1 Investment does not intend
    42                                          12572         12236
              INVESTMENT TRUST                                         to pursue claim number 12572 and
                                                              12264
                                                                       requested that the Claimholder handle
                                                                       objection – response 12264)
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              WEC 99A 1 LLC C O MIDLAND
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        LOAN SERVICES INC A               12685
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              DELAWARE CORPORATION
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              WEC 99A 3 LLC C O MIDLAND
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        LOAN SERVICES INC A               12851
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
              DELAWARE CORPORATION
                                                                       2013.
                                                         92
                  Case 08-35653-KRH   Doc 13149-2 Filed 10/22/13 Entered 10/22/13 20:48:40   Desc
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              WEINGARTEN MILLER SHERIDAN                               ADJOURNED TO December 17, 2013 at 2:00
    42                                          11158
              LLC                                                      p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        WEINGARTEN NOSTAT INC             12635
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        WEINGARTEN NOSTAT INC             12632
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
              WELLS FARGO BANK NA
              (as successor trustee to
              Bank of America, N.A., as
              successor by merger to                                   THE STATUS HEARING ON THIS OBJECTION IS
                                                              12468
    42        LaSalle Bank, N.A., as             2310                  ADJOURNED TO December 17, 2013 at 2:00
                                                              12509
              trustee for the registered                               p.m.
              holders of Merrill Lynch
              Mortgage Trust 2004-KEY2,
              Co.)
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              WELLS FARGO BANK NORTHWEST                               ADJOURNED TO December 17, 2013 at 2:00
    42                                          12023
              NA                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              WELLS FARGO BANK NORTHWEST                               ADJOURNED TO December 17, 2013 at 2:00
    42                                          12416
              NA                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              WELLS FARGO BANK NORTHWEST                               ADJOURNED TO December 17, 2013 at 2:00
    42                                          12004
              NA                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.

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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              WELLS FARGO BANK NORTHWEST                               ADJOURNED TO December 17, 2013 at 2:00
    42                                          12009
              NA                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              WELLS FARGO BANK NORTHWEST                               ADJOURNED TO December 17, 2013 at 2:00
    42                                          12011
              NA                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              WELLS FARGO BANK NORTHWEST                               ADJOURNED TO December 17, 2013 at 2:00
    42                                          12012
              NA                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              WELLS FARGO BANK NORTHWEST                               ADJOURNED TO December 17, 2013 at 2:00
    42                                          12013
              NA                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              WELLS FARGO BANK NORTHWEST                               ADJOURNED TO December 17, 2013 at 2:00
    42                                          12014
              NA                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              WELLS FARGO BANK NORTHWEST                               ADJOURNED TO December 17, 2013 at 2:00
    42                                          13079
              NA                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        WILLIAM A BROSCIOUS ESQ           12096
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        WOODMONT SHERMAN LP               11526
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.


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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                                       ADJOURNED TO December 17, 2013 at 2:00
    42        WR I ASSOCIATES LTD               13438
                                                                       p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
              WRI LAKESIDE MARKETPLACE                                 ADJOURNED TO December 17, 2013 at 2:00
    42                                           9372
              LLC                                                      p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                       2013.

                                                                       STATUS HEARING ON THIS OBJECTION IS
                                                              12459
    43        ABERCORN COMMON LLP               13695                  ADJOURNED TO December 17, 2013 at 2:00
                                                              12488
                                                                       p.m.
                                                                       THE STATUS HEARING ON THIS OBJECTION IS
                                                              12459
    43        ABERCORN COMMON LLLP              12682                  ADJOURNED TO December 17, 2013 at 2:00
                                                              12488
                                                                       p.m.
              Berkadia Commercial
              Mortgage LLC (Bank of                           12132
              America NA as successors by                     12156    Status hearing on objection adjourned to
    43                                           9449
              merger to LaSalle Bank NA                       12240    December 17, 2013 at 2:00 p.m.
              as Trustee for the                              12248
              Registered Holders of GMAC)
              Berkadia Commercial
              Mortgage LLC (Bank of                           12158
                                                                       Status hearing on objection adjourned to
    43        America NA successor by            9707         12238
                                                                       December 17, 2013 at 2:00 p.m.
              merger to LaSalle Bank NA                       12258
              fka LaSalle National Bank)
              Berkadia Commercial                             12139
              Mortgage LLC (Bank of                           12169
                                                                       Status hearing on objection adjourned to
    43        America NA successor by            9721         12235
                                                                       December 17, 2013 at 2:00 p.m.
              merger to LaSalle Bank NA                       12239
              fka LaSalle National Bank)                      12263



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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              Berkadia Commercial
                                                               12137
              Mortgage LLC (Bank of
                                                               12168    Status hearing on objection adjourned to
    43        America NA successor by             9734
                                                               12237    December 17, 2013 at 2:00 p.m.
              merger to LaSalle Bank NA
                                                               12256
              fka LaSalle National Bank)
                                                                        Status hearing on objection adjourned to
              Berkadia Commercial                                       December 17, 2013 at 2:00 p.m. (WEC 96D
                                                               12174
              Mortgage LLC (WEC 96D                                     Springfield 1 Investment does not intend
    43                                           12572         12236
              Springfield 1 Investment                                  to pursue claim number 12572 and
                                                               12264
              Trust)                                                    requested that the Claimholder handle
                                                                        objection – response 12264)
                                                               12170
              Berkadia Commercial
                                                               12176
              Mortgage LLC (WEC 96 D                                    Status hearing on objection adjourned to
    43                                           12911         12234
              Appleton 2 Investment                                     December 17, 2013 at 2:00 p.m.
                                                               12235
              Trust)
                                                               12239
                                                                        Status hearing on objection adjourned to
    43        CarMax, Inc.                       14809         12059
                                                                        December 17, 2013 at 2:00 p.m.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CC INVESTORS 1996 14 KAMIN                                ADJOURNED TO December 17, 2013 at 2:00
    43                                           11572
              REALTY COMPANY                                            p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CC MADISON PJR LLC CC
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    43        MADISON EJR CC MADISON TFR          9416
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
              LLC & CC MADISON JLR LLC
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    43        CC ROSEVILLE LLC                    9417
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        This matter has been settled pursuant to
                                                                        procedures previously approved by this
    43        CIRCUIT IL CORP                     5027
                                                                        Court, and the matter may be removed from
                                                                        the Court’s docket.
                                                          96
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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CIRCUIT INVESTORS NO 4
                                                                        ADJOURNED TO December 17, 2013 at 2:00
    43        THOUSAND OAKS LIMITED               8163
                                                                        p.m. WITH OPPOSITION DUE DECEMBER 10,
              PARTNERSHIP
                                                                        2013.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              CMAT 1999 C1 GRAND RIVER                         12461
    43                                            5002                  ADJOURNED TO December 17, 2013 at 2:00
              AVENUE LLC                                       12487
                                                                        p.m.
              COUSINS PROPERTIES
                                                                        By agreement of the parties, order should
    43        INCORPORATED LOS ALTOS             15248
                                                                        be entered granting the relief sought.
              MARKET CENTER 335932
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              GCCFC 2007 GG9 ABERCORN                          12459
    43                                           15253                  ADJOURNED TO December 17, 2013 at 2:00
              STREET LIMITED PARTNERSHIP                       12488
                                                                        p.m.
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
              PEMBROKE CROSSING LTD                                     ADJOURNED TO December 17, 2013 at 2:00
    43                                           15247
              PRUDENTIAL 204404 122                                     p.m. WITH OPPOSITION DUE DECEMBER 10,
                                                                        2013.
                                                                        Status hearing on objection adjourned to
    43        WCC Properties, LLC                15261         12092
                                                                        December 17, 2013 at 2:00 p.m.

                                                (Docket
                                                                        Status hearing on objection adjourned to
    44        Carole Kaylor                        No.         12152
                                                                        December 17, 2013 at 2:00 p.m.
                                                 11774)
                                                                        THE STATUS HEARING ON THIS OBJECTION IS
    44        MARY RESTIVO                       15268                  ADJOURNED TO December 17, 2013 at 2:00
                                                                        p.m. WITH RESPONSE DUE DECEMBER 10, 2013.
                                                                        Status hearing on objection adjourned to
    44        Robert E. Marshall                 15211         12117
                                                                        December 17, 2013 at 2:00 p.m.

                                                                        Status hearing on objection adjourned to
    47        James E. Burgess                    8646         12652
                                                                        December 17, 2013 at 2:00 p.m.



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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    48        McGinnis, Holly C.                 8497
                                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.

                                                                       Status hearing on objection adjourned to
    49        Besanko, Bruce H.                  3821                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.

                                                                       Status hearing on objection adjourned to
    53        Besanko, Bruce                    15241                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    53        Besanko, Bruce                    14992                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    53        McGinnis, Holly C.                 8493
                                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.

                                                                       Status hearing on objection adjourned to
    57        Georgia M. Vahoua                  9545         12614
                                                                       December 17, 2013 at 2:00 p.m.
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    57        Holly C. McGinnis                  8499
                                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.

                                                                       Status hearing on objection adjourned to
    58        Robert S. Kuna                     5557         12571
                                                                       December 17, 2013 at 2:00 p.m.

                                                                       The claimant has agreed that the
    59        Edward M. Hendricks               10175
                                                                       Objection may be sustained.
                                                                       The claimant has agreed that the
    59        Edward M. Hendricks               10173
                                                                       Objection may be sustained.
                                                         98
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Liquidating
   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
    59        Mark S. Stinde                     7038         12628
                                                                       December 17, 2013 at 2:00 p.m.

                                                15231         12653    Status hearing on objection adjourned to
    60        William Harmon
                                                15233         12654    December 17, 2013 at 2:00 p.m.

                                                                       Status hearing on objection adjourned to
              AHOLD FINANCIAL SERVICES        Scheduled
    62                                                                 December 17, 2013 at 2:00 p.m. with
              LLC                               Claim
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
                                              Scheduled
    62        CONTRARIAN FUNDS LLC                                     December 17, 2013 at 2:00 p.m. with
                                                Claim
                                                                       opposition due December 10, 2013.
                                              Scheduled                Status hearing on objection adjourned to
    62        David Marciniszyn                               12617
                                                Claim                  December 17, 2013 at 2:00 p.m.
                                                                       Status hearing on objection adjourned to
                                              Scheduled
    62        EDISON PARKING MANAGEMENT                                December 17, 2013 at 2:00 p.m. with
                                                Claim
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
                                              Scheduled
    62        HAMILTON CROSSING I LLC                                  December 17, 2013 at 2:00 p.m. with
                                                Claim
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
                                              Scheduled
    62        HWR KENNESAW LLC                                         December 17, 2013 at 2:00 p.m. with
                                                Claim
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
                                              Scheduled
    62        Lancaster Propane Gas Inc                                December 17, 2013 at 2:00 p.m. with
                                                Claim
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
                                              Scheduled
    62        NAZARIO FAMILY LLC                                       December 17, 2013 at 2:00 p.m. with
                                                Claim
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
                                              Scheduled
    62        POND ROAD ASSOCIATES                                     December 17, 2013 at 2:00 p.m. with
                                                Claim
                                                                       opposition due December 10, 2013.


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Liquidating
   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
                                               Scheduled
    62        VILLAGE WALK RETAIL LP                                    December 17, 2013 at 2:00 p.m. with
                                                 Claim
                                                                        opposition due December 10, 2013.

                                                 15231         12653    Status hearing on objection adjourned to
    63        William Harmon
                                                 15233         12654    December 17, 2013 at 2:00 p.m.

                                                                        Status hearing on objection adjourned to
    64        1003 College Station LLC           14515                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    64        4110 Midland LLC                   12708                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    64        4905 Waco LLC                      12710                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Abilene-Ridgemont, LLC
                                                                        Status hearing on objection adjourned to
    64        (transferred from                  12241         12613
                                                                        December 17, 2013 at 2:00 p.m.
              Novogroder Abilene, LLC)
              Bank of America NA as
              successor by merger to
              LaSalle Bank National
                                                                        Status hearing on objection adjourned to
    64        Association as Trustee for          9488         12777
                                                                        December 17, 2013 at 2:00 p.m.
              the Registered Holders of
              GMAC (BERKADIA COMMERCIAL
              MORTGAGE LLC)
              Bank of America National
              Association as successor by
              merger to LaSalle Bank
                                                                        Status hearing on objection adjourned to
    64        National Association fka            9721         12780
                                                                        December 17, 2013 at 2:00 p.m.
              LaSalle National Bank
              (BERKADIA COMMERCIAL
              MORTGAGE LLC)

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Bank of America National
              Association as successor by
              merger to LaSalle Bank
                                                                       Status hearing on objection adjourned to
    64        National Association fka           9724         12781
                                                                       December 17, 2013 at 2:00 p.m.
              LaSalle National Bank
              (BERKADIA COMMERCIAL
              MORTGAGE LLC)
              Bank of America National
              Association as successor by
              merger to LaSalle Bank
                                                                       Status hearing on objection adjourned to
    64        National Association fka           9734         12782
                                                                       December 17, 2013 at 2:00 p.m.
              LaSalle National Bank
              (BERKADIA COMMERCIAL
              MORTGAGE LLC)
              Bank of America National
              Association Successor by
              Merger to LaSalle Bank
                                                                       Status hearing on objection adjourned to
    64        National Association fka           9704         12778
                                                                       December 17, 2013 at 2:00 p.m.
              LaSalle National Bank
              (BERKADIA COMMERCIAL
              MORTGAGE LLC)
              Bank of America National
              Association Successor by
              Merger to LaSalle Bank
                                                                       Status hearing on objection adjourned to
    64        National Association fka           9707         12779
                                                                       December 17, 2013 at 2:00 p.m.
              LaSalle National Bank
              (BERKADIA COMMERCIAL
              MORTGAGE LLC)




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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Bank of America National
              Association Successor by
              Merger to LaSalle Bank
                                                                       Status hearing on objection adjourned to
    64        National Association fka           9740         12783
                                                                       December 17, 2013 at 2:00 p.m.
              LaSalle National Bank
              (BERKADIA COMMERCIAL
              MORTGAGE LLC)
              Bank of America National
              Association Successor by
              Merger to LaSalle Bank
                                                                       Status hearing on objection adjourned to
    64        National Association fka           9050         12773
                                                                       December 17, 2013 at 2:00 p.m.
              LaSalle National Bank
              (BERKADIA COMMERCIAL
              MORTGAGE LLC)
              Bank of America National
              Association Successor by
              Merger to LaSalle Bank
                                                                       Status hearing on objection adjourned to
    64        National Association fka          10030         12787
                                                                       December 17, 2013 at 2:00 p.m.
              LaSalle National Bank
              (BERKADIA COMMERCIAL
              MORTGAGE LLC)
              Bank of America National
              Association Successor by
              Merger to LaSalle Bank
                                                                       Status hearing on objection adjourned to
    64        National Association fka           9916         12786
                                                                       December 17, 2013 at 2:00 p.m.
              LaSalle National Bank
              (BERKADIA COMMERCIAL
              MORTGAGE LLC)




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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Bank of America National
              Association Successor by
              Merger to LaSalle Bank
                                                                       Status hearing on objection adjourned to
    64        National Association fka           9899         12785
                                                                       December 17, 2013 at 2:00 p.m.
              LaSalle National Bank
              (BERKADIA COMMERCIAL
              MORTGAGE LLC)
                                                                       Status hearing on objection adjourned to
    64        Basile Limited Liability Co        3973                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Bear Valley Road Partners
    64                                          12653                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              BFLO Waterford Associates
    64                                           9952                  December 17, 2013 at 2:00 p.m. with
              LLC
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Bond Circuit IV Delaware
    64                                           8796                  December 17, 2013 at 2:00 p.m. with
              Business Trust
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Bond Circuit IV Delaware
    64                                          15019                  December 17, 2013 at 2:00 p.m. with
              Trust
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    64        CC Acquisitions LP                12718                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    64        CC Acquisitions LP                12721                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    64        CC Acquisitions LP                12722                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    64        CC Acquisitions LP                12725                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
    64        CC Acquisitions LP                14518                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    64        CC Acquisitions LP                14521                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    64        CC Acquisitions LP                14522                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    64        CC Acquisitions LP                14523                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    64        CC Acquisitions LP                14574                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    64        CC Acquisitions LP                14577                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    64        CC Investors 1996 14              11572                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
              Century Plaza Development                                Status hearing on objection adjourned to
    64                                          11238         12630
              Corporation                                              December 17, 2013 at 2:00 p.m.
                                                                       This matter has been settled pursuant to
                                                                       procedures previously approved by this
    64        CIRCUIT IL CORP.                   5027
                                                                       Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       Status hearing on objection adjourned to
              Circuit Investors No 2 Ltd
    64                                           9037                  December 17, 2013 at 2:00 p.m. with
              A Texas Partnership
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    64        CLF Trust                         15243                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
    64        CLF Trust                         15245                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
              CWCapital Asset Management                               Status hearing on objection adjourned to
    64        LLC as Special Servicer for       12728                  December 17, 2013 at 2:00 p.m. with
              Bank of America NA                                       opposition due December 10, 2013.
              CWCapital Asset Management                               Status hearing on objection adjourned to
    64        LLC as Special Servicer for       12832                  December 17, 2013 at 2:00 p.m. with
              Bank of America NA                                       opposition due December 10, 2013.
              CWCapital Asset Management                               Status hearing on objection adjourned to
    64        LLC as Special Servicer for       12846                  December 17, 2013 at 2:00 p.m. with
              Bank of America NA                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    64        Daniel G. Kamin Flint LLC         11573                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
              Drexel Delaware Trust c o                                Status hearing on objection adjourned to
    64        Midland Loan Services Inc a       12647                  December 17, 2013 at 2:00 p.m. with
              Delaware Corporation                                     opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    64        Eel McKee LLC                     12687                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
              GCCFC 2007-GG9 Abercorn                                  Status hearing on objection adjourned to
    64                                          12682         12631
              Street Limited Partnership                               December 17, 2013 at 2:00 p.m.
              Inland Western Avondale
              McDowell, L.L.C.                   8943                  Status hearing on objection adjourned to
    64                                                        12588
              Inland Western Columbus           12642                  December 17, 2013 at 2:00 p.m.
              Clifty, L.L.C.
                                                                       Status hearing on objection adjourned to
    64        Jubilee-Springdale, LLC            8282         12590
                                                                       December 17, 2013 at 2:00 p.m.
              Key Bank NA as Master
                                                                       Status hearing on objection adjourned to
              Servicer and ORIX Capital
    64                                          12420                  December 17, 2013 at 2:00 p.m. with
              Markets LLC as Special
                                                                       opposition due December 10, 2013.
              Servicer

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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
              KeyBank NA as Master
              Servicer and ORIX Capital                                 Status hearing on objection adjourned to
    64        Markets LLC as Special             12399                  December 17, 2013 at 2:00 p.m. with
              Servicer on behalf of Bank                                opposition due December 10, 2013.
              of America NA as successor
                                                                        Status hearing on objection adjourned to
    64        Macerich Store No 6286              9517                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Manufacturers & Traders
    64                                            8561                  December 17, 2013 at 2:00 p.m. with
              Trust Company as Trustee
                                                                        opposition due December 10, 2013.
                                                                        This matter has been settled pursuant to
              Manufacturers & Traders                                   procedures previously approved by this
    64                                            8611
              Trust Company as Trustee                                  Court, and the matter may be removed from
                                                                        the Court’s docket.
                                                                        Status hearing on objection adjourned to
              Manufacturers & Traders
    64                                            8613                  December 17, 2013 at 2:00 p.m. with
              Trust Company as Trustee
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Manufacturers & Traders
    64                                            8622                  December 17, 2013 at 2:00 p.m. with
              Trust Company as Trustee
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              Manufacturers & Traders
    64                                           12053                  December 17, 2013 at 2:00 p.m. with
              Trust Company as Trustee
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    64        Midland Loan Services Inc          12258                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    64        Park National Bank                  8079                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    64        Park National Bank                  8618                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.

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   Trust                                          Claim        Docket
              Respondent                                                                  Status
  Omnibus                                        Number        Number
 Objection
                                                                        Status hearing on objection adjourned to
    64        Park National Bank                 11749                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    64        Park National Bank                 11750                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    64        Park National Bank                 11752                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    64        Park National Bank                 11753                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    64        Park National Bank                 12615                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
              Park National Bank as
              assignee of rents under
                                                                        Status hearing on objection adjourned to
              Henrico County Virginia
    64                                            9009                  December 17, 2013 at 2:00 p.m. with
              Deed of Lease with CK
                                                                        opposition due December 10, 2013.
              Richmond Business Services
              No 2
              Ronald Benderson Randall                                  Status hearing on objection adjourned to
    64        Benderson and David H               9951                  December 17, 2013 at 2:00 p.m. with
              Baldauf                                                   opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
    64        Saugus Plaza Associates            12510                  December 17, 2013 at 2:00 p.m. with
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              The West Campus Square
    64                                            7526                  December 17, 2013 at 2:00 p.m. with
              Company LLC
                                                                        opposition due December 10, 2013.
                                                                        Status hearing on objection adjourned to
              United States Debt Recovery
    64                                            7550                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                        opposition due December 10, 2013.

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       This matter has been settled pursuant to
              United States Debt Recovery                              procedures previously approved by this
    64                                           8614
              V LP                                                     Court, and the matter may be removed from
                                                                       the Court’s docket.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    64                                          12121                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    64                                          12588                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    64                                          12589                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    64                                          12735                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    64                                          14519                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              United States Debt Recovery
    64                                          14520                  December 17, 2013 at 2:00 p.m. with
              V LP
                                                                       opposition due December 10, 2013.
              United States Debt Recovery                              Status hearing on objection adjourned to
    64        V LP Assignee of CC               15112                  December 17, 2013 at 2:00 p.m. with
              Properties LLC                                           opposition due December 10, 2013.
              US Bank National
                                                                       Status hearing on objection adjourned to
              Association as Purchaser of
    64                                          14793                  December 17, 2013 at 2:00 p.m. with
              Assets of Park National
                                                                       opposition due December 10, 2013.
              Bank
              US Bank National as                                      Status hearing on objection adjourned to
    64        Purchaser of Assets of Park       14794                  December 17, 2013 at 2:00 p.m. with
              National Bank                                            opposition due December 10, 2013.


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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              US Bank National
                                                                       Status hearing on objection adjourned to
              Association as Purchaser of
    64                                          14796                  December 17, 2013 at 2:00 p.m. with
              Assets of Park National
                                                                       opposition due December 10, 2013.
              Bank
                                                                       Status hearing on objection adjourned to
    64        WCC Properties LLC                13480                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
              WEC 99A 1 LLC c o Midland                                Status hearing on objection adjourned to
    64        Loan Services Inc a               12685                  December 17, 2013 at 2:00 p.m. with
              Delaware Corporation                                     opposition due December 10, 2013.
              WEC 99A 3 LLC c o Midland                                Status hearing on objection adjourned to
    64        Loan Services Inc a               12851                  December 17, 2013 at 2:00 p.m. with
              Delaware Corporation                                     opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
    64        Weingarten Nostat Inc             12635                  December 17, 2013 at 2:00 p.m. with
                                                                       opposition due December 10, 2013.
              Wells Fargo Bank as Trustee
              for the Registered Holders
                                                                       Status hearing on objection adjourned to
    64        of JP Morgan Chase                 8282         12590
                                                                       December 17, 2013 at 2:00 p.m.
              Commercial Mortgage
              Securities
              Wells Fargo Bank NA
              successor by merger to
              Wells Fargo Bank Minnesota
                                                                       Status hearing on objection adjourned to
    64        NA fka Norwest Bank                9441         12774
                                                                       December 17, 2013 at 2:00 p.m.
              Minnesota NA as Trustee
              (BERKADIA COMMERCIAL
              MORTGAGE LLC)




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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
              Wells Fargo Bank NA
              successor by merger to
              Wells Fargo Bank Minnesota
                                                                       Status hearing on objection adjourned to
    64        NA fka Norwest Bank                9444         12775
                                                                       December 17, 2013 at 2:00 p.m.
              Minnesota NA as Trustee
              (BERKADIA COMMERCIAL
              MORTGAGE LLC)
              Wells Fargo Bank NA
              successor by merger to
              Wells Fargo Bank Minnesota
                                                                       Status hearing on objection adjourned to
    64        NA fka Norwest Bank                9450         12776
                                                                       December 17, 2013 at 2:00 p.m.
              Minnesota NA as Trustee
              (BERKADIA COMMERCIAL
              MORTGAGE LLC)
              Wells Fargo Bank NA
              successor by merger to
              Wells Fargo Bank Minnesota
                                                                       Status hearing on objection adjourned to
    64        NA fka Norwest Bank                9741         12784
                                                                       December 17, 2013 at 2:00 p.m.
              Minnesota NA as Trustee
              (BERKADIA COMMERCIAL
              MORTGAGE LLC)
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    64                                          12004                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    64                                          12011                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    64                                          12012                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    64                                          12013                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.

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   Trust                                         Claim        Docket
              Respondent                                                                 Status
  Omnibus                                       Number        Number
 Objection
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    64                                          12014                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    64                                          12023                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.
                                                                       Status hearing on objection adjourned to
              Wells Fargo Bank Northwest
    64                                          13079                  December 17, 2013 at 2:00 p.m. with
              NA
                                                                       opposition due December 10, 2013.




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